                    UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         CHARLOTTE DIVISION
 ATLANTIC PINSTRIPING, LLC,   )
 ET AL,                       )
                              )
            Plaintiffs,       )        No. 3:16-CV-547
                              )
       vs.                    )
                              )
 ATLANTIC PINSTRIPING         )
 TRIAD, LLC, ET AL,           )
                              )
            Defendants.       )
 _____________________________)

                      TRANSCRIPT OF PROCEEDINGS
                BEFORE THE HONORABLE GRAHAM C. MULLEN
                 UNITED STATES DISTRICT COURT JUDGE
                         SEPTEMBER 20, 2016



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 On Behalf of the Defendants:
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                      Cheryl A. Nuccio, RMR-CRR
                       Official Court Reporter
                     United States District Court
                      Charlotte, North Carolina




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1                              P R O C E E D I N G S
2     TUESDAY MORNING, SEPTEMBER 20, 2016
3                 (Court called to order at 10:30 a.m.)
4                 THE COURT:    All right.    We have -- we are resuming
5     the hearing in the matter of Atlantic Pinstriping and Michael
6     Montemurro versus Atlantic Pinstriping and others.
7                 Is there anything further for the plaintiff?
8                 MR. DeANTONIO:    Yes, Your Honor.     We have one
9     witness that we'd like to call for about 20 minutes.
10                THE COURT:    All right.
11                MR. DeANTONIO:    We'd like to call Mrs. Laura
12    Montemurro.
13                THE COURT:    All right.    Come forward, please, and be
14    sworn.
15              LAURA MONTEMURRO, PLAINTIFFS' WITNESS, SWORN,
16                              DIRECT EXAMINATION
17    BY MR. DeANTONIO:
18    Q.    Good morning, Ms. Montemurro.
19    A.    Good morning.
20    Q.    Could you please state your full name for the record.
21    A.    Laura Montemurro.
22    Q.    Ms. Montemurro, are you married to the plaintiff, Michael
23    Montemurro?
24    A.    Yes, I am.
25    Q.    For how long?




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1     A.    Twenty-five years.
2     Q.    Do you work for the other plaintiff, Atlantic
3     Pinstriping, LLC?
4     A.    Yes.
5     Q.    How long have you worked for Atlantic?
6     A.    Since its inception in 2003.
7     Q.    What is your title at Atlantic?
8     A.    I'm a member.
9     Q.    Do you have any responsibilities or duties at Atlantic?
10    A.    I do not pinstripe the vehicles, but I am involved in
11    monitoring franchise reports and their 1 percent marketing
12    fund accounts and overseeing some of the supply orders as
13    well.
14    Q.    Do you oversee the payment of royalties?
15    A.    Yes.
16    Q.    And you said marketing fund accounts?
17    A.    Yes.
18    Q.    And supply orders?
19    A.    Yes.
20    Q.    I want to touch on just a few of the issues that were
21    discussed at the first hearing in this matter.          Were you here
22    for the first hearing in this matter?
23    A.    Yes.
24    Q.    And did you see the testimony of Mr. Montemurro?
25    A.    Yes.




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1     Q.    Do you recall there was some testimony about how many of
2     the pinstriping applicators and head attachments were actually
3     leased to the defendants?
4     A.    Yes.
5     Q.    I'd like to nail down that number.        How many pinstriping
6     heads accompany each applicator?
7     A.    Eight.
8     Q.    Okay.    And just so we can understand what we're talking
9     about, is the head an attachment that goes on to the tool?
10    A.    Yes.
11    Q.    And does it have a wheel that applies the paint to the
12    vehicle?
13    A.    Yes.
14    Q.    Okay.    How do you know that eight heads accompany each
15    tool?
16    A.    Every -- every tool has eight heads that would go with
17    it.   Each franchisee per tool is given eight heads.
18    Q.    Okay.
19    A.    Per the lease.
20    Q.    Okay.    Are you aware of -- or have you witnessed the
21    tools and the heads being provided to other franchisees?
22    A.    Yes.
23    Q.    And is it always eight heads?
24    A.    Yes.
25    Q.    Ms. Montemurro, I'm going to ask you to look at a




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1     document.
2                  MR. DeANTONIO:   Your Honor, may I approach the
3     witness?
4                  THE COURT:   You may.
5     Q.    What I've done hopefully to speed things up today is I
6     have compiled all the documents that were introduced at the
7     last hearing and put exhibit numbers on them for ease of
8     reference.     So I'm going to hand you just a stack of those
9     exhibits.
10          So I'd like you to please look at Exhibit 2,
11    Ms. Montemurro.     Is this the equipment lease for the Colombia
12    franchise?
13    A.    I believe so.
14    Q.    Okay.    And if you look at the last page of this exhibit,
15    there is a list of equipment that was leased to the franchisee
16    pursuant to this agreement; is that right?
17    A.    Yes.
18    Q.    Does this reflect that eight heads were attached or given
19    or provided along with each tool?
20    A.    Yes.
21    Q.    How many tools and how many heads were provided to the
22    defendants in this case?
23    A.    Two tools each with eight heads.       So 2 tools and 16
24    heads.
25    Q.    And that would be under the Columbia lease, right?




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1     A.    Yes, I believe so.
2     Q.    So for all three franchises, Columbia, Coastal and
3     Charleston, how many tools and how many heads?
4     A.    I believe they had -- they had two for each.         At
5     Charleston they were given one and then -- at two separate
6     times.    So they had 6 -- 6 tools and would be 8 tools -- 8
7     heads per each tool, so 48.
8     Q.    So I'm trying to determine not how many tools the
9     franchisees have now but total provided over the course of the
10    franchise agreements.
11    A.    Over the course of the franchise between Triad Columbia,
12    Charleston, and Dealer Services Coastal, it would have been 10
13    tools --
14    Q.    Okay.
15    A.    -- and 80 heads.
16    Q.    Ten tools and 80 heads.
17    A.    Yes.
18    Q.    Were any of those tools and heads returned?
19    A.    Yes.
20    Q.    And --
21    A.    The Coastal ones, there were 2 tools and 16 heads were
22    returned.
23    Q.    Okay.    And so those were returned several years ago?
24    A.    No, they were returned this year.
25    Q.    They were returned this year?




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1     A.    Yes.
2     Q.    And when this year?
3     A.    I believe in March.
4     Q.    Okay.   So before this dispute happened -- or before this
5     lawsuit was filed at least, the Coastal franchisee returned 2
6     tools and 16 heads; is that right?
7     A.    Yes, uh-huh.
8     Q.    And the deposit that they paid for those tools and heads
9     was never cashed by Atlantic, was it?
10    A.    For Coastal, yes, it was.
11    Q.    Okay.   Was the money returned, then?
12    A.    It was not because there was another check for tool
13    deposits that had not been cashed.
14    Q.    In other words, the amount equal the deposit had not been
15    cashed by Atlantic?
16    A.    Correct.
17    Q.    So you just gave the check back?
18    A.    I gave them a copy.
19    Q.    And so that left the franchisees with 8 tools and 64
20    heads; is that correct?
21    A.    Yes.
22    Q.    Did Mr. Montemurro recover one of those tools?
23    A.    Yes.
24    Q.    And so did he recover three of those heads?
25    A.    Yes, only three of the heads.




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1     Q.    And so how many tools and how many heads remain
2     outstanding?
3     A.    He should have 7 tools, and I'm trying to do math in my
4     head.   Seven tools, it would -- that would have been 56 heads
5     and they returned 3.
6     Q.    Okay.    So 8 times 8 is 64, right?
7     A.    Correct.
8     Q.    And then --
9     A.    Sixty-one.    They should have 61 heads, then, because they
10    only returned 3 from that one -- we only recovered 3 from that
11    one tool.
12    Q.    Okay.    Thank you.
13          Do you recall at the last hearing that Mr. Montemurro was
14    questioned about whether or not Atlantic filled a paint order
15    that the defendants had requested?
16    A.    Yes.
17    Q.    And do you recall there was some testimony about one
18    large order was filled and then two subsequent orders were not
19    filled?
20    A.    Yes.
21    Q.    I'd like to ask you some questions about that initial
22    large order.
23                 MR. DeANTONIO:   May I approach, Your Honor?
24                 THE COURT:   You may.   You need not ask further
25    permission if you need to approach the witness.




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1                   MR. DeANTONIO:   Thank you.
2      Q.    Ms. Montemurro, is Exhibit 102 that initial large paint
3      request that the defendants made?
4      A.    Yes.
5      Q.    And looking at the numbers here, the quantities, do the
6      quantities reflect quarts of paint?
7      A.    Yes, they're quarts.
8      Q.    And I've added this up, and would you agree that this
9      equals 34 quarts?
10     A.    Yes.
11     Q.    Do you have an understanding of how many cars could be
12     striped with 34 quarts of paint?
13     A.    Yes.
14     Q.    And how many is that?
15     A.    Approximately 38,000 vehicles.
16     Q.    Okay.    And let's just quickly run through how you get
17     there.   You take the number of cubic centimeters that are in a
18     quart, and that's about 946, right?
19     A.    Correct.
20     Q.    And then you take the total number of cubic centimeters
21     in 34 quarts and you can determine that 10 cubic centimeters
22     is one -- can fit in one tool; is that correct?
23     A.    That's right.
24                  MR. HENRIQUES:   I'm going to object to the leading,
25     Your Honor.




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1                   THE COURT:   Overruled.   Let's move on, please.
2      Q.    And one tool can stripe 12 cars.
3      A.    Approximately, yes.
4      Q.    And that's how you do the math to get to the number of
5      over 38,000 cars; is that right?
6      A.    Yes, that's correct.
7      Q.    What if paint thinner or hardener were added?
8      A.    You could probably get more vehicles out of that.
9      Q.    Did the defendants in this case ever order paint thinner
10     or hardener?
11     A.    Not directly from us but from the supplier, yes.
12     Q.    Is that a common practice for Atlantic franchisees?
13     A.    Normally they order through us.
14     Q.    Okay.    To use hardener or paint thinner --
15     A.    Oh, yes.
16     Q.    -- is that a common practice?
17     A.    Yes.
18     Q.    Do you have any idea of how much paint that was compared
19     to the volume that the defendants were producing over the
20     previous year?
21     A.    That's an enormous amount of paint.
22     Q.    Okay.
23     A.    It's an extremely large order of paint for that.
24     Q.    And how long could that paint last?
25     A.    At least a year and a half.




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1      Q.    Okay.    But Atlantic filled this order; is that correct?
2      A.    Yes.
3      Q.    And this order was requested in February of 2016; is that
4      right?
5      A.    Yes.
6      Q.    So between February 3rd, 2016, and when this lawsuit was
7      filed in June of 2016, that's when the subsequent paint orders
8      were requested by the defendants; is that right?
9      A.    Yes.
10     Q.    And did --
11                  THE COURT:   I want to interrupt.     When you say that
12     would last about a year, year and a half, are you talking
13     about paint life or the amount of time it would take to use it
14     up?
15                  THE WITNESS:   The amount of time it would take to
16     use it to pinstripe.
17                  THE COURT:   Okay.   Thank you.
18     Q.    And why did -- what did Atlantic do when it received
19     further paint orders in the four months after this request?
20     A.    This kind of sent a red flag and we were wondering why
21     such a large order had been placed.        It's not in the norm for
22     any of our franchisees or even for us to have ordered that
23     amount of paint.     So it was something that we were concerned
24     about.
25     Q.    And so what did you do when you received the next order




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1      of paint?
2      A.    We did not fill it.     We did express to Ernie, Ernie
3      Horne, that this was a really large order of paint and
4      expressed that it sent a red flag to us.
5      Q.    And did you request to see an inventory of what they had
6      before you would fill further orders?
7      A.    Yes, we did.
8      Q.    And was the -- did the franchise ultimately get
9      terminated right after -- right as this was going on?
10     A.    They were terminated after we tried to do an inspection
11     and inventory, yes.
12     Q.    Okay.   Ms. Montemurro, are you aware that Section 16.06
13     of the franchise agreement requires that upon termination, the
14     franchisee "transfer and assign to us or our designee all
15     telephone numbers"?
16     A.    Yes.
17     Q.    What is the purpose behind that requirement?
18     A.    The purpose would be that these numbers are advertised on
19     our website and they -- a customer would call that number
20     expecting to speak to an Atlantic Pinstriping franchisee.             And
21     this would have -- be able to have some control over what
22     would be expected by our customers on that end.
23     Q.    Would there be any harm to Atlantic if the clients
24     continued to associate those numbers with Atlantic?
25     A.    Yes, because the customers would be thinking that they




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1      would be dealing with an Atlantic Pinstriping franchisee and
2      there would be some confusion as to who they are dealing with.
3      Q.    Okay.    Thank you.   I'm going to hand you two documents,
4      Ms. Montemurro, Exhibits 103 and 104.
5            Ms. Montemurro, do you recognize Exhibit 103?
6      A.    Yes.
7      Q.    What is Exhibit 103?
8      A.    They are business cards for the Atlantic franchisee, the
9      defendants' employees.
10     Q.    Okay.
11     A.    One is a former employee, one is a current.
12     Q.    And do these business cards each have phone numbers on
13     them?
14     A.    Yes.
15     Q.    Have those phone numbers been returned to Atlantic?
16     A.    No, they have not.
17     Q.    Let's compare this document to Exhibit 104 which is a
18     declaration that was submitted last night.         I'd like to ask
19     you to please look at the top of page 2 of this declaration.
20     And do you see where that paragraph states that an individual
21     named Shawnnah Blake called Lugoff Toyota and --
22                  THE COURT:   Look, I can read.    Come on.    Move on.
23                  MR. DeANTONIO:   Okay.
24     Q.    Was one of these phone numbers in the business card
25     provided to you by the manager of Lugoff Toyota?




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1      A.    I believe so.    I mean --
2      Q.    Or to Ms. Blake.    Is that what Ms. Blake is saying?
3      A.    Ms. Blake, yes.
4      Q.    And that's the same phone number that was listed here for
5      Mark Parker; is that correct?
6      A.    Yes.    But I believe Matt Bernard is the one who is using
7      that.
8      Q.    So a different employee of the defendants' is now using
9      this number.
10     A.    Yes.    Because Mark Parker no longer works for them.
11     Q.    And according to Ms. Blake, this number was described as
12     being -- belonging to somebody with Atlantic Dealer Services,
13     correct?
14                  MR. HENRIQUES:   I'm going to object to his testimony
15     about the characterization of the affidavit which
16     characterizes the testimony of a third party.
17                  THE COURT:   I will -- sustained.     Let's move on,
18     please.
19                  MR. DeANTONIO:   Okay.
20     Q.    Looking at the second telephone number -- well, let's
21     just move on.
22           Ms. Montemurro, you are aware that the franchise
23     agreements and owner's agreements have a 25-mile radius
24     surrounding each franchisee's territory as part of the
25     covenant not to compete; is that correct?




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1      A.    Yes.
2      Q.    I want to ask you about that radius.       Do Atlantic
3      franchisees ever serve customers who live outside their
4      territory?
5      A.    Yes.
6      Q.    And could you explain how that happens.
7      A.    There may be a dealership that's close to the territory
8      that has a customer that wants a hand painted pinstriping so
9      there will be a little bit of overlap where they may need to
10     go outside their territory to service that customer.
11     Q.    And have you ever received phone calls --
12     A.    Yes.
13     Q.    -- when that situation happens?
14     A.    Requesting -- yes.
15     Q.    And what do you do when you receive those phone calls?
16     A.    I would either give the dealership or the customer the
17     phone number of the franchisees that would be closest to that
18     area or I would take their information and provide it to the
19     franchisee to contact them directly.
20     Q.    Okay.   Do the franchisees ever request permission to
21     serve customers outside of their territory?
22     A.    Yes.
23     Q.    And does Atlantic ever grant those requests?
24     A.    Yes, often.
25     Q.    Has Atlantic ever granted those requests for the




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1      defendants in this case?
2      A.    Yes.
3      Q.    Were the defendants in this case given the opportunity to
4      expand their territory to Savannah, Georgia?
5      A.    Yes, they were.
6      Q.    How close is Savannah, Georgia, to the defendants'
7      territory as it was at the time of termination?
8      A.    They were operating in Charleston and they had approval
9      for Hilton Head.     So I think Savannah is within 25 miles of
10     Hilton Head.
11     Q.    Okay.    With the expansion territories, that does not
12     include permission to start a franchise, does it?
13     A.    No, it does not.
14     Q.    And so what does that involve?       What is the permission
15     that's granted?
16     A.    To service -- they would fill out an approval form,
17     request form to service for specific reasons for specific
18     dealerships.
19                  MR. DeANTONIO:   Okay.   Thank you.
20                  (Plaintiffs counsel conferred.)
21                  MR. DeANTONIO:   No further questions, Your Honor.
22                  THE COURT:   Cross exam.
23                  MR. HENRIQUES:   Yes, Your Honor.
24                               CROSS EXAMINATION
25     BY MR. HENRIQUES:




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1      Q.    Were the franchises involved here, the Charleston,
2      Columbia, and Coastal franchises, some of the most successful
3      franchises for Atlantic Pinstriping?
4      A.    In terms of the dollar amount?
5      Q.    In terms of dollars.
6      A.    Dollars, yes.
7      Q.    And were the franchises regularly recognized at company
8      events like the Christmas party for being high performing
9      franchises?
10     A.    In the dollar amount, yes.
11     Q.    All right.   You testified about these business cards,
12     Exhibit 103.
13     A.    Uh-huh.
14     Q.    No one gave these business cards to you, right?
15     A.    They were proofs that were in emails from Mike through
16     Tony, yes.
17     Q.    Okay.    Where did these come from?     Do you have any
18     personal knowledge about where the two business cards in
19     Exhibit 103 came from?
20     A.    Yes.    They were proofs that we had designed the business
21     cards for Tony that were emailed to Tony.
22     Q.    Okay.    So these were business cards that were designed
23     back when the franchise was in operation.        So these are
24     business card proofs.     You had designed business cards for
25     these employees.




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1      A.    And then Tony would have ordered them through probably --
2      Q.    You don't know if anyone is using these business cards
3      now, right?
4      A.    I'm sure they are.
5      Q.    Okay.    You have no personal knowledge that anyone is
6      using these business cards.
7      A.    No, but I do know that they are using those phone
8      numbers, yes.
9      Q.    Okay.    And you have -- you have knowledge that they are
10     using these phone numbers now.       What personal knowledge do you
11     have that they're using these phone numbers?
12     A.    If you call the number, Brian Guggenbiller would answer
13     that.
14     Q.    Right.    This is actually Brian Guggenbiller's personal
15     cell phone number, right?      Isn't that that number, (843)412 --
16     A.    That would be the number that is for Atlantic
17     Pinstriping, yes, sir
18     Q.    Do you know whether that's Brian Guggenbiller's personal
19     cell phone number?
20     A.    I do not know if it's personal.       It's the one that he
21     uses to represent himself as a pinstriper.
22     Q.    Okay.    You testified there was some potential confusion
23     because the phone numbers were advertised on the website.
24     A.    Well, Tony's main -- Tony's number was, yes.
25     Q.    Okay.    Tony's number is advertised on the Atlantic




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                             LAURA MONTEMURRO - CROSS

1      Pinstripe website.     Is that the --
2      A.    It was.
3      Q.    -- website you're talking about?
4      A.    It was.
5      Q.    Okay.   When was that number taken down?
6      A.    Post-termination.
7      Q.    So after termination you removed that number.         So no one
8      now -- if you go to your website now, you would not find
9      Tony's phone number on the Atlantic Pinstriping --
10     A.    You would not find it.     You would find the local
11     Charlotte number as well as the (800) number.
12     Q.    And there was no advertising like yellow pages or
13     anything else for the defendant franchises, were there?
14     A.    I do not know that answer.
15     Q.    Now, have you reviewed the -- you testified about the
16     equipment.    Have you reviewed each of the lease agreements
17     that are involved for these franchises?
18     A.    Not recently.
19     Q.    Do you know how many applicators are listed in the lease
20     agreement for the Charleston franchise?
21     A.    Do you want me to take a look at it?
22     Q.    I'm just asking you if you know how many were listed
23     there.
24     A.    I would have to look at the documents to be accurate.
25     Q.    All right.   And do you know how many are listed for




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                             LAURA MONTEMURRO - CROSS

1      Coastal?
2      A.    There were two.
3      Q.    So you believe there was a lease agreement with Coastal
4      that listed two applicators?
5      A.    Yes, there were.
6      Q.    Did you personally deliver any applicators or heads to
7      the defendants in this case?
8      A.    I was in the office when Tony picked up the -- came in
9      and signed the agreements for the tool -- leases for Coastal.
10     Q.    Okay.   So you were in the office when Tony signed
11     agreements for Coastal.
12     A.    Yes, sir.
13     Q.    All right.   And how many -- did you see how many
14     applicators he picked up at that time?
15     A.    I don't recall if he picked them up that day.         There --
16     but there would have been two applicators and eight heads each
17     tool.
18     Q.    And are you the person that counts out those heads?
19     A.    No.
20     Q.    So how do you know eight heads were delivered?
21     A.    There are always eight heads that are delivered.
22     Q.    I'm asking specifically for the heads delivered to these
23     defendants.    Do you have any knowledge of how many heads these
24     defendants received?     Or is your testimony simply that's the
25     normal procedure is everybody gets eight?




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                             LAURA MONTEMURRO - CROSS

1      A.    That is the absolute procedure that we do with every
2      franchisee.
3      Q.    You testified in connection with the paint that you made
4      a request to see their paint inventory; is that right?
5      A.    We asked -- I specifically asked him what he had in terms
6      of inventory for all of his locations, yes, I did.
7      Q.    Right.    You asked that to Tony.
8      A.    Yes.
9      Q.    In an email.
10     A.    Yes, sir.
11     Q.    And he provided you an email response back that listed
12     the current inventory?
13     A.    Some -- some of it, yes.      Specifically addressing
14     Florida, he did not respond to me regarding that.
15     Q.    But you asked for an inventory.       He emailed you an
16     inventory, but you still declined to ship any additional
17     paint.
18     A.    That's not correct.
19     Q.    Did you ship any additional paint after he provided an
20     inventory?
21     A.    No, we did not.
22                  (Defense counsel conferred.)
23                  MR. HENRIQUES:   Those are all I have, Your Honor.
24                  THE COURT:   Redirect.
25                  (Plaintiffs' counsel conferred.)




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1                 MR. DeANTONIO:     No, Your Honor.
2                 THE COURT:    All right.    You may step down.
3                 THE WITNESS:     Thank you.
4                 (Witness stepped down.)
5                 THE COURT:    Anything further for the plaintiff?
6                 MR. DeANTONIO:     Nothing from the plaintiff at this
7      time, Your Honor.
8                 THE COURT:    All right.    Mr. Henriques, do you have
9      any evidence you want to put on?
10                MR. HENRIQUES:     Yes, Your Honor.     We would call
11     Jerry Parker.
12                THE COURT:    Come forward and be sworn, Mr. Parker.
13                JERRY WAYNE PAKER, DEFENSE WITNESS, SWORN,
14                              DIRECT EXAMINATION
15     BY MR. HENRIQUES:
16     Q.    Good morning, Mr. Parker.
17     A.    Good morning.
18     Q.    Could you please state your full name for the record.
19     A.    Jerry Wayne Parker.
20     Q.    All right.   Could you tell us a little bit about
21     yourself, Mr. Parker.
22     A.    Well, when I retired several years ago, I met both Tony
23     and Ernie at the golf course and worked there for a while.
24     And then they shared with me what they were doing with
25     pinstriping and at some point asked me to join them.             I tried,




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1      and essentially you couldn't buy into a franchise.          You had
2      to -- wouldn't do that, but essentially said you can buy
3      into -- you can be a part of the next franchise so...
4      Q.    And what did you do before you retired?
5      A.    Operated my own business for 25 years, commercial
6      cleaning and building services business.
7      Q.    I want to talk more about your ultimately signing the
8      franchise agreement.     I know there have been some questions
9      raised about service of process.       Were you ever served with
10     process in this lawsuit?
11     A.    No.
12     Q.    Okay.    Did you actually authorize me to accept service on
13     your behalf?
14     A.    I did.
15     Q.    Did you do anything to evade service of process?
16     A.    No.
17     Q.    You just weren't home when the package came?
18     A.    Well, I don't have any territory in indian land so I was
19     always working somewhere else.
20     Q.    So is it correct, did I hear you say that you started
21     working with Tony and folks before you signed the first
22     franchise agreement on Coastal?
23     A.    Yes.
24     Q.    Okay.    Had you talked to Mr. Montemurro about becoming a
25     franchisee?




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                               JERRY PARKER - DIRECT

1      A.     Yes.
2      Q.     Tell us about those conversations.
3      A.     Well, essentially we talked about what it would take to
4      do that.      When we talked about trying to buy into the two
5      franchises that they already owned, Mike said, You can't be a
6      part of that.     Or you can be a part of the LLC that runs it.
7      But in looking at the book for what you have and can't -- can
8      and can't do, I couldn't invest in an LLC that I couldn't get
9      anything from.     Essentially, if anything happened to either
10     one of them, I'd have been out in the cold.
11            So the next solution Mike offered was next one y'all buy,
12     you can be a part of that.
13     Q.     And did you specifically suggest that perhaps the
14     company, the LLC, Atlantic Triad -- sorry, Atlantic
15     Pinstriping Triad, LLC, could be named as the franchisee?
16     A.     Yes.
17     Q.     And that's what you wanted to protect your investment?
18     A.     Correct.
19     Q.     And Mr. Montemurro said that was not an option?
20     A.     Correct.
21     Q.     He specifically said he did not want any LLC as the
22     franchisee.
23     A.     Right.    It would have to be the individuals.      He was not
24     going to change the -- either of the two that they already
25     had.




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                              JERRY PARKER - DIRECT

1      Q.    Okay.   So how was it that you ended up becoming a
2      franchisee?
3      A.    Well, we had -- Ron owned the Myrtle Beach/Wilmington
4      territory and wasn't working it.       Matter of fact, Mike
5      suggested that we buy it.      And we wound up doing that in
6      January of '15, I think it was.
7      Q.    All right.   And what was your financial contribution to
8      the Coastal franchise?
9      A.    A third.
10     Q.    Okay.   And are you personally a franchisee under that
11     Coastal franchise agreement?
12     A.    No -- I mean yes, I'm sorry.      Yeah.   As -- there's three
13     of us.
14     Q.    All right.   And who are the three franchisees for
15     Coastal?
16     A.    Myself, Tony, and Ernie.
17     Q.    Is there any company that is the Coastal franchisee?
18     A.    No.
19     Q.    Did any company sign on that -- sign the franchise
20     agreement?
21     A.    No.
22     Q.    Was window tinting part of the franchise agreement that
23     Coastal signed in 2015?
24     A.    No.
25     Q.    Did the -- did you perform window tinting services with




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1      customers of the Coastal franchise?
2      A.    Not until November of last year.
3      Q.    Okay.   November 2015?
4      A.    Yes.
5      Q.    Did Mr. Montemurro indicate he wanted to receive
6      royalties on window tinting?
7      A.    Yes.
8      Q.    What royalties was he demanding on window tinting
9      services?
10     A.    7 percent.
11     Q.    Was there any amendment to the franchise agreement to
12     bring window tinting services under that?
13     A.    No.
14     Q.    Was there ever any written agreement specifying what
15     percentage of amounts would be paid for window tinting
16     services?
17     A.    No.
18     Q.    There's been some discussion about a lawsuit filed by
19     Dentworks in South Carolina.      Are you familiar with that
20     lawsuit?
21     A.    I am.
22     Q.    Are you actually named as a defendant in that lawsuit?
23     A.    Yes.
24     Q.    Did you have a meeting with Mike Montemurro in April to
25     discuss the Dentworks situation?




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                              JERRY PARKER - DIRECT

1      A.    I think that was it, in April.
2      Q.    Tell us about that meeting with Mr. Montemurro.
3      A.    We had had several.     The last one was at the end of the
4      week and said that if -- if Joey is owed money, pay him.              If
5      not, show me that it's not owed.       That was either Thursday or
6      Friday.
7            And I said be happy to put all -- you know, get all that
8      information for you.     Come down the first part of the week,
9      Monday, Tuesday, whatever is, you know, available to you,
10     which you prefer, and we'll have it ready.
11           Went down on Monday and Ernie was there and so was Tony,
12     and we had it in the office all -- every invoice, every
13     receipt, the whole nine yards, exactly what it was.
14           And Mike came in on Tuesday.      He walked in and I said,
15     Okay, here it is.
16           And he says, I don't need to see that.        He just took a
17     picture of it and went in a different direction.
18     Q.    Okay.   Now, I want to be clear.      Who did Dentworks
19     actually have an agreement with to perform some dent removal
20     and other body work?
21     A.    My understanding is Partners.
22     Q.    Partners.   Another company called Partners?
23     A.    Uh-huh.
24     Q.    And are you an owner in Partners?
25     A.    No.




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1      Q.    Did Dentworks have any agreement with you personally --
2      A.    No.
3      Q.    -- to do any dent removal?
4            Did Dentworks have any agreement with the Atlantic Dealer
5      Services to do dent removal?
6      A.    No.
7      Q.    So what were the documentation that was pulled together
8      to demonstrate that no money was owed to Dentworks?          What did
9      that consist of?
10     A.    Essentially it was the invoices that were submitted by
11     Dentworks to Partners and the -- all the statements that went
12     to the customer, all of the receipts and exactly what was done
13     and exactly what was paid.
14     Q.    Okay.   So you were showing -- you assembled the paperwork
15     to show that Dentworks had been paid all the money they were
16     owed from Partners.
17     A.    That's correct.
18     Q.    But Mr. Montemurro didn't want to see that.
19     A.    Correct.
20     Q.    And was a lawsuit actually filed by Dentworks?
21     A.    I think -- yes, I think so.
22     Q.    Did Mr. Montemurro know about that lawsuit?
23     A.    I think so.
24     Q.    Did he indicate he had, in fact, met with Joey Williams
25     who is the principal of Dentworks?




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1      A.    Yes.    He -- on that day I think he said he saw him either
2      that day or yesterday -- the day before.
3      Q.    Were you present when Mr. Montemurro came to the
4      Charleston office on June 14th of 2016, the date of
5      termination?
6      A.    Yes.
7      Q.    Tell us about what happened that day when Mr. Montemurro
8      came.
9      A.    He asked us to bring all of our vehicles in and he wanted
10     to do an inspection of the vehicles and the tools.          And it was
11     set up for noon and we were there ready and --
12     Q.    Did he bring anybody with him?
13     A.    No.    Well, I mean, not his people.     He had two policemen
14     join him.
15     Q.    So two policemen showed up along with Mr. Montemurro.
16     A.    Correct.
17     Q.    And what happened after he arrived?
18     A.    He asked -- Matt, one of our pinstripers, drove in and he
19     was the first one to come in.       And he gave -- as soon as he
20     got there, he gave the keys to Tony.        And Mike asked -- went
21     over and asked Matt to open the truck.        He said, I don't have
22     the keys.     I gave them to Tony.
23           And he says, Okay.     Can you open the truck.      And he asked
24     him what for.    So I can do an inspection.
25           So Tony went over and opened the truck, pulled the




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1      toolbox out, opened the toolbox.       And as soon as he got the
2      toolbox open, Mike reached in and grabbed the tool and head.
3      And Tony closed it back up and says, We're through here.
4            Mike asked the policeman, Can you you make him -- would
5      you tell him to let me have my stuff.
6            The policeman says, I can't do that.       That's his vehicle.
7            So he said okay and he went and pulled out a letter and
8      gave it to each one of us and says, you know, This is what you
9      get for that.
10     Q.    So he delivered the letter after he repossessed the tool?
11     A.    Correct.
12     Q.    Did you ever get a deposit back for the tool he
13     repossessed?
14     A.    Not that I know of.
15     Q.    Let's look at the letter.
16                MR. HENRIQUES:     And Your Honor, I put the exhibits
17     we intend to use into a notebook that we'll try to go through.
18     Q.    Would you look at Exhibit 1 in that notebook.
19           Is this the letter that was delivered to you on June 14,
20     2016?
21     A.    Correct.
22     Q.    Was this the first notice that you received of any
23     default by the Coastal franchise?
24     A.    Correct.
25     Q.    And that's the only franchise you're a member of, right,




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1      is the Coastal franchise?
2      A.    Correct.
3      Q.    All right.   I want to ask about some of the specific
4      claims of default that are set forth in Exhibit 1.          The first
5      one appears at the bottom of page 1, that last paragraph.             And
6      it says, "APS," which is Atlantic Pinstriping, "has received
7      credible evidence that you are unable to pay your debts as
8      they become due."
9            First, let me ask you individually, do you have any debts
10     or obligations that you were unable to pay?
11     A.    No.
12     Q.    Let me ask about the Coastal franchise.        Did it have any
13     debts or obligations that it was unable to pay?
14     A.    No.
15     Q.    Did the Coastal franchise own trucks?
16     A.    I don't think so.     I don't --
17     Q.    Was the Coastal franchise behind or defunct on any debts
18     that it owed when you received this notice of termination on
19     June 13 -- June 14, 2016?
20     A.    None that I know of.
21     Q.    When you had met with Mr. Montemurro in April, had he
22     raised any concern that the Coastal franchise was unable to
23     pay its debts?
24     A.    No.
25     Q.    Had he ever raised that concern to you at any of the




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1      meetings you had had leading up to June 14th?
2      A.    No.
3      Q.    All right.   Then let's turn the page and look at some of
4      the other alleged defaults that Coastal committed under the
5      franchise agreement.     The first one says, "Using the System
6      and/or Marks in connection with other businesses and business
7      activities."
8            Had Coastal ever used the system or marks in connection
9      with other activities?
10     A.    No.
11     Q.    The next says, "Using the System and/or Marks outside of
12     territories covered by the franchise agreements."
13           I understand Coastal had gotten approval to do work in
14     other franchises.     Other than the approvals given to it by
15     Atlantic Pinstriping, had it ever used the services or marks
16     outside the territories?
17     A.    No.
18     Q.    The third one says, "Failing to comply with APS System
19     Standards."
20           Do you know what that's referring to?
21     A.    No.
22     Q.    Okay.   Were you ever told that the Coastal franchise had
23     failed to comply with the APS system standards?
24     A.    Not that I recall.
25     Q.    And did you have a lawyer write a response to this




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1      termination letter a couple days later?
2      A.    Yes, we did.
3      Q.    Who was that lawyer?     Is that Brandon --
4      A.    Brandon.
5      Q.    -- Shelburn (phonetic)?
6            Is Brandon Shelburn a lawyer in South Carolina?
7      A.    Correct.
8      Q.    Did he ask for details about what Atlantic Pinstriping
9      actually meant by deficiencies with system standards and the
10     other alleged defaults?
11     A.    Yes.
12     Q.    Were any details ever provided for how the Coastal
13     franchise had somehow failed to comply with the standards?
14     A.    Not that I received.
15     Q.    So you've never been told how the Coastal franchise
16     failed to comply with APS systems.
17     A.    That's correct.
18     Q.    The next one says, "Failed to operate the franchise
19     diligently in a manner consistent with sound business
20     practices."
21           Had Coastal been operated diligently and consistent with
22     sound business practices?
23     A.    Correct.
24     Q.    The next says, "Failing to maintain working capital and
25     net worth sufficient to fulfill responsibilities."




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                              JERRY PARKER - DIRECT

1            Did you have adequate capital and net worth to fulfill
2      the operations?
3      A.    Correct.
4      Q.    Did you ever provide any personal financial statements
5      showing what your net worth was to Atlantic Pinstriping?
6      A.    No.
7      Q.    And they never asked for any of your financial
8      information?
9      A.    No.
10     Q.    The next is, "Failing to adhere to the highest standards
11     of honesty, integrity, fair dealing and ethical conduct."
12           Had Coastal ever violated those standards in its
13     dealings?
14     A.    No.
15     Q.    The next is, "Allowing your officers, directors" --
16     anyway, you can read it -- to damage the goodwill of APS?
17           Had you done any conduct that was damaging to goodwill?
18     A.    Never.
19     Q.    The next is failing to pay taxes.
20           Did either you personally or Coastal ever fail to pay
21     taxes?
22     A.    No.
23     Q.    The next is selling unapproved items without consent.
24           Did you or Coastal sell any unapproved items?
25     A.    No.




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                              JERRY PARKER - DIRECT

1      Q.    The next is failing to affix on each vehicle any
2      pinstriping, lettering, or stenciling job the required
3      warranty label.
4            Were there -- tell me, what was the -- what was happening
5      with the warranty stickers?      Tell me what your understanding
6      is about those.
7      A.    Well, our customer, which is -- we only had one customer,
8      didn't want them so we didn't put them on.
9      Q.    All right.   So you were directed by the customer not to
10     put stickers on.
11     A.    Correct.
12     Q.    Mr. Montemurro in his declaration said, in fact, Coastal
13     never ordered any stickers.      Is that consistent with your
14     recollection?
15     A.    The only thing we had was back around the first of the
16     year is he decided to make up a thousand dollars worth of
17     stickers for each franchise and charged it to us.
18     Q.    Okay.   So you were charged for some stickers.
19     A.    Uh-huh.
20     Q.    Did Mr. Montemurro ever express concern to you that the
21     customer that you were working with did not want stickers on
22     those vehicles?
23     A.    I'm sorry, say that again.
24     Q.    Did Mr. Montemurro ever express concern or say I'm sorry,
25     I'm going to have to terminate the franchise because the




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                              JERRY PARKER - DIRECT

1      customer is refusing to have stickers?
2      A.    No.
3      Q.    If you had been told that the franchise would be
4      terminated if you didn't put warranty stickers on, what would
5      you have done in that circumstance?
6      A.    We'd have had to have put them on there, but we'd have to
7      take them right back off.
8      Q.    All right.   The last item is failing to pay monthly fees
9      to APS by the 10th day of each month.
10           Did Coastal fail to pay fees?
11     A.    Sometimes they were late depending upon getting all the
12     info together to do it.
13     Q.    And did Coastal pay fees based on the billings or based
14     on the actual revenue received?
15     A.    It had to be on the actual billing.
16     Q.    Okay.
17     A.    Not what you received.
18     Q.    All right.   And how -- why was it like that?
19     A.    Because that's the way Mike wanted it.
20     Q.    Regardless of what the actual franchise agreement said.
21     A.    Correct.
22     Q.    So Coastal was never given an opportunity to either be
23     notified of these alleged defaults or an opportunity to cure
24     them.
25     A.    Correct.




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1      Q.     There's been some testimony about services in Florida.
2      Are you providing services in Florida under a different name
3      now?
4      A.     No.
5      Q.     Did you provide services in Florida under a different
6      name at some point?
7      A.     Yes.
8      Q.     What was that name?
9      A.     Custom Dealer Services.
10     Q.     Earlier there was an affidavit -- or declaration from a
11     Mr. Wayne Powell.     Do you know Mr. Powell?
12     A.     I do.
13     Q.     Who was he -- who was Mr. Powell working for in June,
14     July, and August of this year?
15     A.     Custom Dealer Services.
16     Q.     All right.   Can you go ahead and turn to Exhibit 3.
17     A.     Yes.
18     Q.     Can you tell -- tell the Court what Exhibit 3 is.
19     A.     Exhibit 3 is our electronic program that actually you
20     take a picture of the VIN number and it automatically puts in
21     what you did to the car and it bills the customer, sends it to
22     us, sends it to everybody.      And essentially it also lists the
23     tech's name, the actual vehicle, and the amount that was
24     charged.
25     Q.     So this is work that Wayne Powell was doing in Venice,




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1      Florida?
2      A.    Correct.
3      Q.    Window tinting work.
4      A.    Uh-huh.
5      Q.    And it is being billed under the name Custom Dealer
6      Services.
7      A.    Custom Dealer Services.
8      Q.    Can you turn to Exhibit 4 and tell us what those
9      documents are.
10     A.    It's pay stubs for Wayne.
11     Q.    Okay.
12     A.    At Custom Dealer Services.
13     Q.    So Wayne was actually being paid by Customer Dealer
14     Services for the periods -- for the period of June 15th to
15     July 15th, July 16th through the 30th, and for the two pay
16     periods in August, right?
17     A.    Correct.
18     Q.    So when Mr. Powell said in his declaration he was working
19     for Atlantic Dealer Services, that's incorrect, right?
20     A.    That is incorrect.
21     Q.    And when he said that Atlantic Dealer Services was
22     providing services in Venice, Florida, in August, that's also
23     incorrect.
24     A.    Incorrect.
25     Q.    Actually, all that work was being done by Custom Dealer




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                               JERRY PARKER - DIRECT

1      Services.
2      A.    Correct.
3      Q.    And he was paid by Custom Dealer Services.
4      A.    That's correct.
5      Q.    Mr. Powell also said that you purchased a 3D printer.           Is
6      that accurate?
7      A.    3D printer was purchased on my credit card, but I didn't
8      do it.
9      Q.    What is the status of that 3D printer purchased with your
10     credit card?
11     A.    Still in the box.     Never been opened, my understanding.
12     Q.    All right.   The box has not been opened.       You've never
13     used the 3D printer?
14     A.    No.
15     Q.    Mr. Powell also said that you hired -- you enlisted the
16     assistance of an engineering student to do reverse engineering
17     and copying of Atlantic's patented applicator.         Is that true?
18     A.    No.
19     Q.    Have you asked anybody to copy or reverse engineer the
20     applicator?
21     A.    No.
22     Q.    So that's just false.
23     A.    That's false.
24     Q.    Are you still providing services like window tinting in
25     Venice, Florida?




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1      A.    No.
2      Q.    Why not?
3      A.    Brian Allison, who's the manager over both those
4      locations, it's the same guy -- he's the guy who called us
5      when he got there because he was a customer from somewhere
6      else and called us to come down there.        We got permission from
7      Mike to go down and do that business and look at the
8      possibility of buying the Tampa franchise.         Brian called me
9      and essentially said, you know, I'm getting too much heat.
10     Mike is threatening to sue us and this is not going to work so
11     we're just going to have to bail out, and that's what we did.
12     Q.    So Mr. Montemurro was threatening to sue Brian Allison,
13     the customer, or get him involved in litigation?
14     A.    Get him involved, yes.
15     Q.    And that's true even though there's no franchise -- no
16     Atlantic Pinstripe franchise in Venice, Florida, right?
17     A.    That's correct.
18     Q.    And it's more than 25 miles from any existing franchise.
19     A.    I think.
20     Q.    How much money was the -- in terms of revenue, monthly
21     revenue, how much money was the Venice, Florida, operation
22     generating?
23     A.    In excess of 40,000 a month.
24     Q.    All right.   And so that 40,000 a month is revenue you've
25     lost as a result of Mr. Montemurro's threats to try to stop




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                               JERRY PARKER - DIRECT

1      business there in Florida.
2      A.    Uh-huh.
3      Q.    Lastly, in the prior hearing a piece of evidence was
4      introduced on a LinkedIn profile for you.        Tell us about your
5      LinkedIn profile.
6      A.    I'm not a tech person.     I think my son set it up,
7      LinkedIn, several years ago.      And essentially, if somebody
8      sends a request, it comes as an email.        I push the button to
9      accept.     Most of the time it doesn't work.      And actually, I
10     think it was either my son who helped put that on there.              I
11     never took -- I don't -- I don't deal with it.         I don't go to
12     LinkedIn.     So I just never considered it.     So I got
13     somebody -- actually got Tony to help me how do you delete it,
14     and deleted it off -- deleted it off of there.         I'm -- I'm
15     just not into LinkedIn.      It's just something one of my -- my
16     son got me into.
17     Q.    All right.   So -- but your LinkedIn profile has been
18     changed so it doesn't reference Atlantic Dealer Services.
19     A.    That's correct.
20     Q.    Are you holding yourself out as an Atlantic Pinstriping
21     franchisee?
22     A.    No.
23     Q.    Are you using the Atlantic trademarks in any manner?
24     A.    No.
25     Q.    Are you using the applicators in any manner?




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                                JERRY PAKER - CROSS

1      A.    No.
2      Q.    The Atlantic Pinstriping applicators.
3                  MR. HENRIQUES:    That's all I have, Your Honor.
4                  THE COURT:   Cross exam.
5                  MR. DeANTONIO:    Yes, Your Honor.
6                                 CROSS EXAMINATION
7      BY MR. DeANTONIO:
8      Q.    Good morning, Mr. Parker.
9      A.    Good morning.
10     Q.    You mentioned, I believe, in your testimony that you had
11     never received any notice of any violations or defaults under
12     the franchise agreement; is that correct?
13     A.    Not that I know of.
14     Q.    Okay.   Could you please look in the stack that I handed
15     up before.    There's an Exhibit 12.      Could you please look at
16     that document.    I think it's been left up on the witness
17     stand.
18                 MR. HENRIQUES:    If it's easier, I think our Exhibit
19     2 is actually the same as your Exhibit 12.         If it's easier to
20     look at the notebook, tab 2.      I believe it's the same email.
21                 THE WITNESS:    Number what?
22                 MR. HENRIQUES:    Number 2.
23     Q.    This is an email that you received; is that correct?
24     A.    It was addressed -- I...
25     Q.    On the "to" line is jerry@parkermail.biz.        Is that your




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                                 JERRY PAKER - CROSS

1      email address?
2      A.    That's me.
3      Q.    Okay.    And here Mr. Montemurro is listing a number of
4      defaults under the franchise agreement; is that correct?
5                   THE COURT:   I can read.   Did you get this and did
6      you read it?
7                   THE WITNESS:   I don't remember.
8                   THE COURT:   Mr. Parker, did you get it and did you
9      read it?
10                  THE WITNESS:   I don't remember it, but I...
11                  THE COURT:   Okay.
12                  MR. DeANTONIO:   Thank you.
13                  THE WITNESS:   I'm sure I probably got it from
14     somebody.
15     Q.    And do you see where Mr. Montemurro, one of the things he
16     says is that there was an entity formed in a territory that
17     was not owned by the franchisee in this last line of the list
18     here; is that correct?
19     A.    Yes.
20     Q.    And in fact, the entity that he's talking about was
21     Atlantic Pinstriping Savannah, LLC; is that correct?
22     A.    Correct.
23     Q.    And that entity was formed without Atlantic's knowledge
24     or permission; is that correct?
25     A.    That is correct.




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                                JERRY PAKER - CROSS

1      Q.     And you actually signed checks for that entity; is that
2      correct?
3      A.     That's correct.
4      Q.     Mr. Henriques asked you some questions about the
5      Coastal -- about Coastal.      What is Coastal to you?
6      A.     I'm one of the -- one-third of the franchisee.
7      Q.     Okay.   So is it an entity or is it people?      What is it to
8      you?
9      A.     It's people.
10     Q.     Okay.
11     A.     It's Ernie, Tony, and me.
12     Q.     The Coastal franchisee submitted monthly reports in the
13     name of Atlantic Dealer Services Coastal, LLC; is that
14     correct?
15     A.     That's correct.
16     Q.     And wrote checks in the name of Atlantic Dealer Services
17     Coastal, LLC.
18     A.     That's correct.
19     Q.     Did the Coastal franchisee pay royalties on window
20     tinting?
21     A.     Yes.
22     Q.     I want to ask you about the meeting that you testified
23     that you had with Mr. Montemurro about Dentworks.          Do you know
24     if that was before or after the Dentworks lawsuit was filed?
25     A.     Well, I think it was -- that was on a Tuesday.        When we




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                                JERRY PAKER - CROSS

1      got the filing of the suit was a day or two after that, but it
2      was dated the day before.
3      Q.    Okay.    So the meeting happened before the lawsuit was
4      filed.
5      A.    No, the lawsuit was filed the day before.
6      Q.    Okay.
7      A.    I didn't know it --
8      Q.    Right.
9      A.    -- until we got it later -- later on.
10     Q.    At the time of the meeting, did you know that a lawsuit
11     had been filed?
12     A.    No.
13     Q.    And you testified that Atlantic was not involved in the
14     dispute that was the subject of the Dentworks lawsuit; is that
15     correct?
16     A.    That's correct.
17     Q.    Why is Atlantic Pinstriping Triad, LLC, why has it been
18     named as a party, then, to that lawsuit?
19     A.    I think it was because Joey decided to sue everybody and
20     get as many people on it that he could and so -- but Atlantic
21     or Coastal or me, either one of them, not a part of Partners.
22     Q.    You testified that you believe the Coastal franchisee had
23     sufficient working capital; is that correct?
24     A.    Correct.
25     Q.    But you acknowledge that the Atlantic Pinstriping Triad,




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                                JERRY PAKER - CROSS

1      LLC, had been sued in South Carolina for failure to pay its
2      debts; is that correct?
3      A.    I'm not aware of that.
4      Q.    Okay.   Well, I'm talking about the Dentworks lawsuit.
5      A.    I must -- say that again.
6      Q.    Okay.   So you testified that the Coastal franchisee had
7      sufficient working capital and was able to pay its debts; is
8      that correct?
9      A.    Correct.
10     Q.    Yet all three of the individuals who you claim comprise
11     the Coastal franchisee had been sued in South Carolina in the
12     Dentworks lawsuit for failure to pay debts; is that correct?
13     A.    I guess.
14     Q.    Okay.
15     A.    I don't -- I don't --
16     Q.    And -- I'm sorry.
17     A.    I said I don't know that for...
18     Q.    Okay.   Are you aware that the Atlantic Dealer Services
19     Coastal submitted a profit and loss statement showing a net
20     income of negative $43,000 year to date as of March 31st,
21     2016?
22     A.    I saw that in something that came up, but I was not aware
23     of it at the time, no.
24     Q.    And you testified -- you admitted that you did not affix
25     stickers to the vehicles; is that right?




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                             JERRY PARKER - REDIRECT

1      A.    That's correct.
2      Q.    And that you sometimes paid royalty fees late.
3      A.    When you say late, after the 10th?
4      Q.    After the due date.
5      A.    I'm sure, yeah.    Always paid them.
6      Q.    You discussed the client in Venice, Florida.         I think you
7      mentioned Mr. Brian Allison as an individual who works at that
8      client; is that right?
9      A.    Yes, he's part owner in both those dealerships.
10     Q.    Did the Coastal franchisee serve that client prior to the
11     termination?
12     A.    Correct.
13     Q.    Okay.   So that's a former client of the franchisee; is
14     that right?
15     A.    Correct.
16     Q.    And that former client would then be covered under the
17     non-solicitation provision of the franchise agreement; is that
18     correct?
19     A.    I guess, I don't know.
20                (Plaintiffs' counsel conferred.)
21                MR. DeANTONIO:     Nothing else, Your Honor.
22                THE COURT:    Redirect.
23                MR. HENRIQUES:     Just briefly.
24                             REDIRECT EXAMINATION
25     BY MR. HENRIQUES:




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                               ERNIE HORNE - DIRECT

1      Q.    You were asked about Exhibit 2, this email.         This was
2      actually before Coastal was even created, right, before you
3      became a franchisee, the date of Exhibit 2?
4      A.    Correct.
5                 MR. HENRIQUES:     That's all I have.
6                 THE COURT:    All right.    You may step down.
7                 (Witness stepped down.)
8                 THE COURT:    Anything further?
9                 MR. HENRIQUES:     Yes, Your Honor.     We would call
10     Mr. Ernie Horne.
11                THE COURT:    Mr. Horne, come forward and be sworn.
12               WILLIAM ERNEST HORNE, DEFENSE WITNESS, SWORN,
13                              DIRECT EXAMINATION
14     BY MR. HENRIQUES:
15     Q.    Good morning, Mr. Horne.
16     A.    Good morning.
17     Q.    Please state your full name for the record.
18     A.    William Ernest Horne.
19     Q.    All right.   Could you tell us a little bit about
20     yourself, Mr. Horne.
21     A.    I grew up in this area, in the Charlotte area.         Was in
22     the sales business for like 40 years.        Retired in 2008.     And
23     wanted something to do so was looking around for something and
24     got lucky and got into the pinstriping business.
25     Q.    All right.   Did you do anything to avoid service of




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                               ERNIE HORNE - DIRECT

1      process in this case?
2      A.    No, sir.
3      Q.    All right.   Tell me how you first got involved with
4      Atlantic Pinstriping.
5      A.    Was working at the golf course that Tony was managing
6      after I retired.     And Ed Vogler was an employee there as well
7      and he was a franchisee and he talked about -- talked a lot
8      about it.    And so it was very interesting so Tony and I
9      decided to pursue the situation and got into the pinstriping
10     business.
11     Q.    What was the location of the first franchise that you and
12     Tony had?
13     A.    That was in 2010, September.      We bought the Greensboro
14     franchise.    And then 2011, in April I think it was, 2011, we
15     bought the Charleston franchise.       And then in 2012 we bought
16     the Columbia franchise.      And in 2013 we sold Greensboro to
17     another franchisee simply because of the logistics.          We wanted
18     to focus everything in that area, in the Columbia and
19     Charleston areas and so we sold the Greensboro franchise.
20     Q.    Who was listed as the franchisee on all those franchise
21     agreements you just told us about?
22     A.    That was myself and Tony.
23     Q.    Was there ever any company or entity listed as the
24     franchisee?
25     A.    No.




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                               ERNIE HORNE - DIRECT

1      Q.    Why not?
2      A.    It's not allowed.     Has to be the individuals.
3      Q.    Who --
4      A.    No entity.
5      Q.    Who told you that you were not allowed to list an entity
6      as the franchisee?
7      A.    We never -- actually, it never came up until we wanted to
8      bring Jerry in as a partner because we can see some value in
9      having him as a partner in the business and what we wanted to
10     do is sell him a third, make him a third owner of the LLC.
11     And that was refused because the LLC could not be the owner of
12     a franchise.     It had to be the individuals.      And if Jerry
13     bought into the LLC we were operating, that if something
14     happened to Tony or I or both of us, then the franchise would
15     go back to -- Mike would have first option to buy the
16     franchise back and Jerry would be, you know, an owner of the
17     LLC but have nothing.
18     Q.    What was the percentage royalty that needed to be paid to
19     Atlantic Pinstripe for the -- under the franchise agreement?
20     A.    7 percent.
21     Q.    Okay.    And was there an initial franchise fee you also
22     had to pay for your first franchise?
23     A.    Yes.
24     Q.    What was that fee?
25     A.    35,000.




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1      Q.    So you paid 35,000 and you had to pay royalties of
2      7 percent.
3      A.    Correct.
4      Q.    All right.   I wanted to ask about the royalty provision.
5      If you look at -- there's a stack here that's clipped
6      together.     The franchise agreement is the very first item in
7      there.   It's been marked as Exhibit 1 or Plaintiff's Exhibit
8      1.   If you could look at that.       And I'll direct your attention
9      to paragraph 7.02.     So the pages are numbered although they've
10     got two numbers so it's a little confusing.         It's 16 of the
11     document.     Or if it's easier, also at the very bottom it says
12     page 23 of 64.     If you will look at that.     It's two sided.
13     A.    Okay.    What's the number?
14     Q.    7.02, the royalty fee is what I would like to ask you
15     about.
16     A.    I'm looking.
17           There it is.    "7.02 Royalty Fee."     Got it.
18     Q.    And what does it say in terms of what that 7 percent is
19     paid on?
20     A.    You will pay monthly --
21                 THE COURT:   I can read.
22                 MR. HENRIQUES:    Okay.
23     Q.    So it is based on revenues, not billings, right?
24     A.    Yes, that's what it says.
25     Q.    Okay.    Was that an issue that came up early on in the




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                               ERNIE HORNE - DIRECT

1      operation of the franchise?
2      A.    Yeah, our very first month we thought that we would be
3      paying franchise -- royalty fees on revenues, but that was not
4      the case.    We learned that it's on billings.       So we had to --
5      until we got paid, we had to put more money in to the company
6      to pay the royalty fees until -- you know, to cover that first
7      month until we got paid by our dealers, which our terms were
8      net 30 days and we were lucky if we got paid in 60 days.
9      Q.    So Mr. Montemurro was saying regardless of what the
10     language of the agreement was, he wanted you to pay based on
11     billings?
12     A.    Billings, correct.
13     Q.    And so you were actually paying a month or two ahead of
14     time.
15     A.    Ahead, yes.
16     Q.    Right.   You would not get that revenue for 30 to 60
17     days --
18     A.    Correct.
19     Q.    -- after doing that work.
20     A.    Correct.
21     Q.    So there's been some testimony about late payments.
22     Under the language of when the payments are actually due, you
23     were paying one to two months early, correct?
24     A.    Correct.
25     Q.    Tell me about how the business grew from 2010 until this




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1      year.
2      A.    Well, like I said, we bought our first franchise in 2010
3      and another one in 2011, another one in 2012, sold one in
4      2013, and then received permission to do work in Florida in
5      2015.   And we had developed the territories that we were in
6      and got our business up to in excess of a million dollars a
7      year.
8      Q.    Okay.
9      A.    And we had 14 employees, 8 trucks on the road.         Lot of
10     investment.     A thriving business I would describe it as.
11     Q.    You mentioned trucks on the road.       Did those have -- were
12     you making payments on those trucks?
13     A.    Yes.
14     Q.    And were those payments -- were those kept current?
15     A.    Oh, yes.
16     Q.    And was -- were the franchises profitable?
17     A.    Yes.    Yes.
18     Q.    How were -- there's been some evidence about issues with
19     late payments and other problems.       Up until June of 2016, how
20     were those issues handled over the course of the relationship
21     between the franchises and Atlantic Pinstriping?
22     A.    Well, we would pay them.      Could have been late, but they
23     got paid.     I don't understand --
24     Q.    Sure.    Would they -- would you get an email or a phone
25     call if something was late?




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1      A.    Yeah.
2      Q.    And then you would bring it current.
3      A.    Sure.   Yeah.
4      Q.    There was a reference to Exhibit 2 which is a notice
5      where at one point the franchise was put on a 90-day probation
6      period; is that right?
7      A.    Yes.
8      Q.    All right.    And did it successfully complete that 90-day
9      period?
10     A.    Apparently.
11     Q.    And in fact, the franchise was renewed in 2015, a little
12     more than a year after this, right?
13     A.    Yes, October.
14     Q.    So the -- so you were told the problems, you addressed
15     the problems, and the franchise was renewed.
16     A.    Correct.
17     Q.    Did you expect based on the six years of history to be
18     given notice of a deficiency and an opportunity to fix it?
19     A.    Yes, absolutely.
20     Q.    Did you have some meetings with Mike Montemurro in that
21     April time frame, April 2016?
22     A.    Yes, I did.
23     Q.    And were you present during the meeting that Mr. Parker
24     described when Mr. Montemurro visited the office to look at
25     paperwork and then didn't?




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                               ERNIE HORNE - DIRECT

1      A.    I was.
2      Q.    From your meetings with him, what was -- what did
3      Mr. Montemurro want?     What was he after?
4      A.    Basically he wanted to get rid of Tony.        In that meeting
5      that Jerry talked about in April, he was -- he stated that he
6      was going to terminate us, and we talked -- discussed it some
7      more.   And he said, Come up with a plan just so it doesn't
8      involve Tony and we'll look at it.
9      Q.    And when he said he was going to terminate you, did he
10     give you any reason for the termination?
11     A.    No.
12     Q.    Did he indicate you were in breach of any obligation
13     under the franchise agreement?
14     A.    No.
15     Q.    Did you, in fact, put together a plan where you would
16     essentially be buying out Tony's interest?
17     A.    Yes, I did.
18     Q.    And is that what Exhibit 6 is in the notebook?
19     A.    Yes, that is.
20     Q.    So this was a proposal where you were going to purchase
21     Tony's interest in the franchise.
22     A.    Tony's and Jerry's.
23     Q.    All right.    And was that something Mr. Montemurro was
24     interested in?
25     A.    Yes.   Yes.   I delivered it to his office and we discussed




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1      it and actually it was immediately changed.         Brought in
2      Mr. Vogler to be a partner and then Mike himself would be a
3      partner in the LLC that would be formed to operate the
4      franchises.
5      Q.    Okay.    And following your proposal, did Mr. Montemurro
6      then come up with a revised proposal that he thought would
7      work?
8      A.    Yes.    Yes, he would -- Mike would be a partner, Ed Vogler
9      would be a partner, and I would be a partner.         It would be a
10     three-way company.
11     Q.    And could you turn to Exhibit Number 7.
12     A.    Okay.
13     Q.    Is this an email Mike Montemurro sent to his Nevada
14     franchise lawyer Rob Vinson?
15     A.    Yes, that's -- that's what it looks -- yes.
16     Q.    And he has copied you, Tony, Jerry, and Ed Vogler on the
17     email --
18     A.    Yes.
19     Q.    -- right?
20     A.    Yes.
21     Q.    And he's asking his attorney to draft up paperwork to
22     effect this change.
23     A.    Yes.
24     Q.    All right.   Now, let's look at Exhibit 8 which is a
25     response from Rob Vinson to Mike Montemurro.         How did you get




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                               ERNIE HORNE - DIRECT

1      Exhibit 8?
2      A.    It was handed to me when I was in Mike's office.
3      Q.    So you were in Mike's office and he handed you a copy of
4      this email from the franchise lawyer.
5      A.    Yes.
6      Q.    And does the email raise the possibility of simply
7      terminating the franchise?
8      A.    Yes.
9      Q.    All right.   And is that down on number 7?
10     A.    Number 7, yes.
11     Q.    And he points out that under this solution, Tony and
12     Jerry would not have rights and would not need to sign any
13     documents.
14     A.    Correct.
15     Q.    So the lawyer is saying that rather than do a mutual
16     transfer that everyone signs off on, he's telling Mike he can
17     simply do a termination.
18     A.    Terminate, yes.
19     Q.    And a month later a termination notice was delivered.
20     A.    Correct.
21     Q.    But there's nothing in the letter from the lawyer
22     indicating that there's any basis for terminating the
23     franchise agreement, is there?
24     A.    No.
25     Q.    It's simply another way to move forward with the creation




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                               ERNIE HORNE - DIRECT

1      of a new franchise without needing signatures of Tony and
2      Jerry.
3      A.    Correct.
4      Q.    But in fact, after the termination, you were never given
5      an opportunity to become the franchisee for Columbia or
6      Charleston, were you?
7      A.    No.    The -- after the South Carolina lawsuit from Joey
8      Williamson suing Partners Detail and Atlantic Pinstriping
9      Triad, Mike told me that if Tony challenged him on this
10     termination, on this reorganization termination, that he would
11     fry us all, put us all in the grease, and I would be paying
12     him for the rest of my life.
13     Q.    Are those his exact words?
14     A.    Exact.
15     Q.    That he would fry you all.
16     A.    Yes.    And after there was a counter lawsuit and I
17     explained that the counter lawsuit against Joey Williamson
18     naming Mike as third party was necessary so that Mike could
19     confirm that there was a contract that was breached and that
20     was caused by Joey.
21     Q.    Let me ask you about -- I asked about termination of the
22     Coastal franchise with Mr. Parker on Exhibit 1.         Let me ask
23     you some of those same questions --
24     A.    Okay.
25     Q.    -- Mr. Horne.




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                               ERNIE HORNE - DIRECT

1            If you could turn to the first exhibit in this notebook.
2            The first grounds for -- well, and let me ask you the
3      same question.    Had you received any notice of default prior
4      to being handed this on June 14, 2016?
5      A.    There had been emails when something was in default or
6      something was wrong, but those were -- in my opinion, those
7      were to cure.
8      Q.    Right.    So you would get told of an issue and given an
9      opportunity to cure it.
10     A.    Yes.
11     Q.    Let me ask about some of the specific allegations in this
12     letter.     The bottom paragraph of the first page says that you
13     are unable to pay debts as they become due.         Is that true?
14     A.    No.
15     Q.    Were both the Columbia and Charleston franchises paying
16     debts as they became due?
17     A.    Yes.
18     Q.    There's been some testimony about this South Carolina
19     lawsuit.     Dentworks wasn't owed any money by you or Tony or
20     Atlantic Pinstriping Triad, right?
21     A.    That is correct.    It was a frivolous lawsuit.
22     Q.    So the allegation that you were unable to pay your debts
23     was a false allegation.
24     A.    Correct.
25     Q.    And had that ever been brought up before?        Had Mike ever




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                               ERNIE HORNE - DIRECT

1      said you guys don't have sufficient money to pay your debts or
2      you're insolvent?
3      A.    No.   There was an issue with a window film vendor that
4      kept saying we owed them money and we kept asking for invoices
5      and didn't get invoices.      And he called Mike.     I think Mike
6      had done business with him as well.        And finally we got -- all
7      we would get was a spreadsheet which we had never seen an
8      invoice.    And finally we got invoices.      And I don't have
9      firsthand knowledge that we did get invoices.         I don't have
10     firsthand knowledge that they were paid.        But Tony can address
11     that.
12     Q.    Okay.   So you may have had disputes with some vendors
13     like the window film vendor, but that didn't mean --
14     A.    Sure.
15     Q.    -- that you were insolvent, that you personally were
16     insolvent or that Atlantic --
17     A.    Oh, no.    No, sir.
18     Q.    And you're not insolvent.
19     A.    No.
20     Q.    All right.   Let's look, then, at this laundry list of
21     defaults on page 2.     And we'll just go through them quickly.
22     Had Coastal or -- I'm sorry, had Columbia or the Charleston
23     franchises ever used the system or marks in connection with
24     some other business activity?
25     A.    No, sir.




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                               ERNIE HORNE - DIRECT

1      Q.    Had they used them outside the covered territories
2      without permission?
3      A.    No, sir.
4      Q.    Had they failed to comply with APS system standards?
5      A.    Not to my knowledge.
6      Q.    In fact, did you ever get any explanation about what
7      system standards were supposedly not being complied with?
8      A.    No, sir.
9      Q.    All right.   How about failed to operate it diligently or
10     consistent with sound business practices?
11     A.    No.
12     Q.    In fact, those franchises had been very successful from a
13     business standpoint, right?
14     A.    Yes.   Relative to the other franchises it was very
15     successful.
16     Q.    All right.   The next one is maintain working capital and
17     sufficient net worth.     Was there sufficient capital and net
18     worth to continue operations?
19     A.    Yes.
20     Q.    The next is adhering to the standards of honesty,
21     integrity, and fair dealing.      Had the franchises done -- the
22     Columbia and Charleston franchises done anything in violation
23     of those standards?
24     A.    No, sir.
25     Q.    The next is allowing officers, et cetera, to engage in




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                               ERNIE HORNE - DIRECT

1      unlawful conduct or something damaging goodwill.          Had that
2      taken place?
3      A.    No.
4      Q.    Did those -- did Columbia and Charleston franchises have
5      any control over what Dentworks said in its lawsuit?
6      A.    None.   No.   You know, I've never met the guy.       I don't
7      know anything about him.
8      Q.    Failing to pay taxes when due.       Had the franchise paid
9      taxes when due?
10     A.    Except twice.
11     Q.    Tell us about -- you're talking about tax liens?
12     A.    Yes, tax liens.
13     Q.    Tell us about those.
14     A.    One of those was proved -- right away was proved to be
15     false and was dismissed.      And the other is -- we reached an
16     agreement to pay it.
17     Q.    Okay.
18     A.    And the lien was released.      We just paid it off.
19     Q.    All right.    So you made -- reached an agreement -- one
20     was an improper lien --
21     A.    Yes.
22     Q.    -- that got dismissed.
23     A.    Correct.
24     Q.    The other one you reached an agreement sometime ago to
25     pay it off and the lien has been dismissed.




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                               ERNIE HORNE - DIRECT

1      A.    Correct.
2      Q.    So both of those -- that's not an issue.
3      A.    No.
4      Q.    The next one is offering and selling unapproved items
5      without consent.     Has -- have the franchises done that?
6      A.    No.
7      Q.    The next is failing to affix window -- warranty labels.
8      Tell us about the warranty labels.
9      A.    We have used them in the past; but where our dealers
10     didn't allow us to put them on the cars, we didn't put them on
11     the cars.
12     Q.    And did you ever get -- has that been going on for some
13     time?
14     A.    Yes.
15     Q.    Did you have discussions --
16     A.    For a long time.
17     Q.    Did you have discussions with Mike Montemurro about the
18     window stickers?
19     A.    Yes.
20     Q.    What did you tell him about the window stickers?
21     A.    Well, I think they're a valuable marketing tool.           I do
22     see the value in them.      I always have.    And I would use them
23     if I could.    But it's a waste to put them on there and have
24     them pulled right back off.
25     Q.    That's what some dealers were saying is --




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                               ERNIE HORNE - DIRECT

1      A.    Correct.
2      Q.    -- you got to pull them back off?
3      A.    Yes.
4      Q.    You can comply, but just turn around and take them right
5      back off because they didn't want them on there.
6            All right.   And then the last is failing to pay monthly
7      fees by the 10th of the month.       Tell us about that.
8      A.    Yeah, we -- we paid them in the current month.         They were
9      always paid in the current month.       Might not have been paid by
10     the 10th, but they were always paid in the current month.
11     They were never -- never later than 30 days to my knowledge.
12     Q.    All right.
13     A.    Or 20 days actually.
14     Q.    And had Mr. Montemurro ever told you that he was going to
15     terminate the franchise agreements if items that are listed
16     here on page 2 were not fixed?       Did he ever say your franchise
17     agreement will be terminated if you, for example, you know,
18     fail to pay -- don't resolve those tax liens or --
19     A.    No.
20     Q.    -- failed to maintain --
21     A.    No.
22     Q.    So you were given no opportunity to cure or address these
23     items; is that right?
24     A.    Correct.
25                  (Defense counsel conferred.)




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                                ERNIE HORNE - CROSS

1                  MR. HENRIQUES:    That's all I have, Your Honor.
2                  THE COURT:   Cross.
3                  MR. DeANTONIO:    Thank you, Your Honor.
4                                CROSS EXAMINATION
5      BY MR. DeANTONIO:
6      Q.    Mr. Horne, good morning.
7      A.    Good morning.
8      Q.    Could you please look at the stack of exhibits that I
9      handed up to Ms. Montemurro earlier and find Exhibit 13.              And
10     just let me know when you have it.
11     A.    13.
12     Q.    Okay.   Exhibit 13 is a continuation of that -- of the
13     email chain from Exhibit 12 which was the email that
14     Mr. Montemurro sent listing a number of defaults; is that
15     right?
16     A.    Yeah, I believe so.
17     Q.    And you did not dispute that any of those defaults had
18     occurred, did you?
19     A.    No.
20     Q.    And you acknowledge that they actually did occur.
21     A.    Sure.   Yes.
22     Q.    Let's look next at the letter that you sent to
23     Mr. Montemurro, the letter of intent, which is in the binder
24     at Exhibit 6.
25     A.    Okay.




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                                ERNIE HORNE - CROSS

1      Q.    Was it your understanding that Mr. Montemurro requested a
2      change in ownership of the Charleston and Columbia and Coastal
3      franchises so that the defaults would stop occurring?
4      A.    I don't -- I don't know that that was the reason that he
5      wanted a change.     I can't -- I can't say yes or no to that
6      because I don't know.
7      Q.    Okay.   Had this agreement been consummated, there would
8      have been no need for termination of the franchise agreements;
9      is that correct?
10     A.    Correct.
11     Q.    Okay.   So was this an effort by Mr. Montemurro to reach a
12     resolution without need for termination of the franchise
13     agreements?
14     A.    It was an effort by me to reach a resolution.
15     Q.    And there were continued negotiations for at least a
16     month; is that right?
17     A.    That's right.
18     Q.    And then on May the 13th, 2016, Atlantic Pinstriping
19     Triad, LLC, sued Atlantic Pinstriping and Mr. Montemurro; is
20     that correct?
21     A.    Yes.
22     Q.    And did the negotiations fall apart after Atlantic
23     Pinstriping Triad and Mr. Tony Horne sued the plaintiffs in
24     this case?
25     A.    Yes.




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                                  ERNIE HORNE - CROSS

1      Q.    Mr. Horne, you read the franchise agreement before you
2      signed it; is that correct?
3      A.    Yes.
4      Q.    And did you intend to comply with that agreement?
5      A.    Certainly.
6      Q.    And if there's a provision in that agreement that
7      provides that no notice or intent to cure is required upon a
8      certain event of default, would you think that that provision
9      should be enforced?
10     A.    Well, if you want my opinion, we had a thriving business
11     going.   Fourteen employees, eight vehicles on the road.          And
12     at the time of threatened termination, my mindset was I have
13     to do something to protect these employees, to protect our
14     investment in time and money into this company --
15                  THE COURT:    Okay.   Stop the narrative.    It's
16     unresponsive to the question.        Let's go.
17     Q.    Mr. Horne, are you aware that a judgment had been filed
18     in South Carolina against Atlantic Pinstriping Triad?
19     A.    A judgment?    No.
20     Q.    Okay.    Could you please look at Exhibit 23 that's in the
21     stack of papers that I handed up to Ms. Montemurro.
22     A.    23?
23     Q.    23.
24     A.    Oh, yes.    Okay.
25     Q.    And that's a judgment for $38,000.




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                                ERNIE HORNE - CROSS

1      A.    I don't know.    I wasn't aware of this.
2      Q.    Okay.    It was filed, looks like August 15th, 2016; is
3      that right?
4      A.    Um...
5      Q.    There's a stamp on the right near the top on the first
6      page.
7      A.    Yes.    Well, on the 9th of May 2016.
8      Q.    Okay.    That's the --
9      A.    July 29, '16, on the bottom left.
10     Q.    Okay.    I'll just represent that it's file stamped
11     August 15th.     But you already --
12     A.    Oh, yeah, I see that now.
13     Q.    You already stated that there had been tax -- at least
14     one -- two tax liens, at least one you acknowledge a
15     settlement was reached; is that correct?
16     A.    Correct.
17     Q.    And are you aware that the Atlantic Pinstriping Triad
18     entity submitted profit and loss statements showing negative
19     net income?
20     A.    Yes.
21     Q.    Yet you claim that the franchisee had sufficient working
22     capital?
23     A.    Well, that was one P and L statement.
24     Q.    You mentioned that the Charleston and Columbia
25     franchisees had never operated outside of their territories;




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                                ERNIE HORNE - CROSS

1      is that correct?
2      A.    Correct.
3      Q.    Didn't the Charleston and Columbia franchisees operate in
4      Savannah, Georgia, without authorization?
5      A.    No, we had permission to do due diligence in that area to
6      see if we wanted to buy it.
7      Q.    When was that permission requested?
8      A.    I don't remember exactly, but there should be a document
9      because any time we're looking at a territory, new territory,
10     we have to get permission, which there is a form for that.
11     Q.    Mr. Horne, I'm going to hand you Exhibit Number 108.
12           Is Exhibit 108 the request for permission to serve
13     Savannah, Georgia?
14     A.    Yes, it is.
15     Q.    And it's dated July 15, 2015, right?
16     A.    Yes, sir.
17     Q.    And in fact, the Charleston and Columbia franchisees had
18     served Savannah prior to making this request.
19     A.    I think there was -- I seem to -- well, I'm pretty sure
20     there was a request prior to this to do due diligence in the
21     Savannah area to see if we wanted to buy that territory and we
22     decided against it, and then we had body shops calling from
23     Savannah wanting us to do repairs there.        So this would cover
24     that type of business, allowing us to go to Savannah to make
25     body shop repairs.




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                                 ERNIE HORNE - CROSS

1      Q.    Okay.    Just looking back at Exhibit 13, please.
2      A.    13?
3      Q.    Yes.
4            And can you please look at page 5 of that document when
5      you get there.
6      A.    13, okay.   Page 5?
7      Q.    Yes, sir.
8      A.    Okay.
9      Q.    This is about a month and a half before the approval
10     request that we just looked at, right?
11     A.    Yes.
12     Q.    And you were telling Mr. Montemurro that you will cease
13     and desist all activity in the Savannah market; is that
14     correct?
15     A.    Yes.
16     Q.    And you did not dispute his statement in the email to
17     which you were responding that he was assured that there would
18     not be an entity created in Savannah.        You did not dispute
19     that, did you?
20     A.    No.
21                  (Plaintiffs' counsel conferred.)
22                  MR. DeANTONIO:   No further questions at this time,
23     Your Honor.
24                  THE COURT:   Any redirect?
25                  MR. HENRIQUES:   No redirect, Your Honor.




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                           MICHAEL MONTEMURRO - DIRECT

1                  THE COURT:   You may step down.
2                  (Witness stepped down.)
3                  THE COURT:   All right.    We'll take a 15 minute
4      recess.
5                  (Brief recess at 12:07 p.m.)
6                  THE COURT:   All right.    Do you have another witness?
7                  MR. HENRIQUES:    No, Your Honor.    That would conclude
8      defendants' evidence.
9                  THE COURT:   All right.    Do you have any rebuttal?
10                 MR. DeANTONIO:    Yes, Your Honor.     We have very brief
11     questions for Mr. Montemurro and Mrs. Montemurro.
12                 THE COURT:   All right.    You may recall them.
13                 MR. DeANTONIO:    We would first call Mr. Montemurro,
14     Your Honor.
15                 THE COURT:   All right.    Of course, you're under
16     oath.   You may take the stand.      You remain under oath,
17     Mr. Montemurro.
18                 THE WITNESS:    Thank you.
19       MICHAEL MONTEMURRO, PLAINTIFFS' WITNESS, PREVIOUSLY SWORN,
20                              DIRECT EXAMINATION
21     BY MR. DeANTONIO:
22     Q.    Mr. Montemurro, did you hear some testimony today
23     accusing you of saying something along the lines of "I will
24     fry you"?
25     A.    Yes, I did.




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                             LAURA MONTEMURRO - DIRECT

1      Q.     Did you ever say anything like that?
2      A.     No, I did not.
3                    MR. DeANTONIO:   No further questions, Your Honor.
4                    THE COURT:   Step down.   Next.
5                    (Witness stepped down.)
6                    MR. DeANTONIO:   We would like to briefly call
7      Mrs. Montemurro back to the stand.
8                    THE COURT:   All right.   Mrs. Montemurro, you remain
9      under oath.      You may assume your seat at the witness stand.
10          LAURA MONTEMURRO, PLAINTIFFS' WITNESS, PREVIOUSLY SWORN,
11                                DIRECT EXAMINATION
12     BY MR. DeANTONIO:
13     Q.     Mrs. Montemurro, do you recall some testimony about
14     whether Atlantic required franchisees to pay royalties on
15     billings versus receipts?
16     A.     Yes.
17     Q.     What is your understanding of what Atlantic required
18     franchisees to pay?
19     A.     That the royalties were to be paid on gross sales.
20     Q.     Okay.    Do you recall some testimony about whether the
21     dealership operated by Mr. Brian Allison preferred to have
22     stickers on the cars or not stickers on the cars?
23     A.     Yes.
24     Q.     Do you know whether that dealership is currently
25     utilizing pinstriping services?




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                            LAURA MONTEMURRO - DIRECT

1      A.    Yes, they are.
2      Q.    Who is providing those services?
3      A.    The Atlantic Pinstriping Southwest Florida franchisee.
4      Q.    And are stickers applied to cars, if you know?
5      A.    Yes, they are putting them on every vehicle as well as
6      putting a warranty card and a brochure in every vehicle that
7      is striped.
8      Q.    Including the dealership for Mr. Allison?
9      A.    Yes.
10     Q.    Did you meet with Mr. Allison last week?
11     A.    Yes.
12     Q.    Did you have any -- did you or anybody else threaten him
13     at all regarding the conduct of who he chose to do --
14     A.    Absolutely not.
15     Q.    -- Pinstriping services?
16     A.    Absolutely not.
17     Q.    Okay.   Why did -- what did he say about his decision to
18     utilize the Atlantic Pinstriping franchisee in southwest
19     Florida?
20     A.    He spoke very highly of him and he was looking forward to
21     continuing the relationship and using his services for the
22     pinstripe.
23     Q.    Has anybody that you are aware of ever threatened
24     Mr. Allison?
25     A.    No.




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                             LAURA MONTEMURRO - CROSS

1                   MR. DeANTONIO:   No further questions.
2                   THE COURT:   Any cross?
3                                CROSS EXAMINATION
4      BY MR. HENRIQUES:
5      Q.    So have you been down to Venice, Florida?
6      A.    Yes, we were there last week.
7      Q.    So you went and visited Brian Allison there --
8      A.    We did.
9      Q.    -- at the dealership?
10     A.    Yes, sir.
11     Q.    Who is doing the work for Atlantic Pinstriping now in
12     Venice?
13     A.    It would be Atlantic Pinstriping Southwest Florida.
14     Q.    So they're doing work outside of their territory.
15     A.    Correct.
16     Q.    And who is the actual technician that's supplying the --
17     A.    It's Mark Coffers (phonetic).
18     Q.    And did you actually see stickers applied to the cars?
19     A.    Yes.
20     Q.    Did you have a discussion about the stickers?
21     A.    With Mr. Allison, I don't recall.       But they're on the
22     showroom floor with stickers and brochures and warranty cards
23     in every vehicle, as well as on the lot.
24     Q.    And you don't know -- do you know when you started --
25     Mr. Allison started using the southwest Florida franchise for




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                             LAURA MONTEMURRO - CROSS

1      services?
2      A.    I'm not positive the exact date, but he did call Mark and
3      ask him to come and service his territory.
4      Q.    So Mr. Allison called Mark who is the person in charge of
5      the --
6      A.    I believe he texted him actually.
7      Q.    But do you know what month that was?
8      A.    I'm sorry, I don't have an exact date for you.
9      Q.    Okay.
10     A.    I can find out for you.
11                  MR. HENRIQUES:   That's all the questions I have.
12                               REDIRECT EXAMINATION
13     BY MR. DeANTONIO:
14     Q.    Did the Naples -- or southwest Florida franchisee obtain
15     permission to work outside of the territory?
16     A.    Yes.
17                  MR. DeANTONIO:    Nothing further.
18                  THE COURT:   All right.   You may step down, ma'am.
19                  (Witness stepped down.)
20                  THE COURT:   All right.   That concludes the evidence.
21     How long do you folks need on oral argument?
22                  MS. ANDERSON:    Your Honor, 20 minutes.
23                  THE COURT:   Total.   Split it or whatever you want to
24     do with it.     You go first and last.
25                  Can you go 20 minutes?




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1                 MR. HENRIQUES:     I think I can do -- I was thinking
2      30, but I think I can probably make 20 happen, Your Honor.
3                 THE COURT:    Twenty.    It's getting late.     Lunchtime
4      beckons.
5                 Go ahead, Ms. Anderson.
6                 MS. ANDERSON:     Go ahead now?
7                 THE COURT:    You have the burden of proof.       You may
8      proceed.
9                 MS. ANDERSON:     Understood.
10                Your Honor, you always hear that an injunction is an
11     extraordinary remedy in cases like this.        I want the Court to
12     understand what an extraordinary step this has been for
13     Atlantic and Mr. Montemurro.       They have never done anything
14     like this.    They wouldn't do it without a compelling reason.
15                I'd like to talk about two things:        One, the reasons
16     we're here today, the harm to their intellectual property that
17     brought us here; and the second, why we should win under this
18     standard for getting an injunction.
19                First, the first of these is the harms.         So Atlantic
20     and Mr. Montemurro built a successful system based on three
21     pieces of intellectual property, and each one of those is
22     being harmed every day by the defendants.
23                The first one is the Atlantic technology, the
24     patented invention that Mr. Montemurro invented.          And that
25     includes the applicators, the heads, and the method.             He




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1      licenses this to Atlantic and Atlantic licenses it to the
2      franchisee, but only during the term of the agreement.            When
3      the franchise terminates, the franchisees must return the
4      equipment.
5                 That hasn't happened here.       Laura Montemurro
6      testified that the defendants have 7 pinstriping applicators
7      and 61 heads that have not been returned and they -- and that
8      is a violation of the agreement.
9                 Now, the defendants had claimed in the last hearing
10     that they're eager to return this equipment, at least a
11     portion of it.    So why the change of heart?       Wayne Powell, the
12     gentleman who worked for defendants, submitted a sworn
13     statement that they've copied the technology and that they are
14     using it in their illegitimate pinstriping business.
15                Now, we heard from Mr. Parker that, yes, he bought a
16     3D printer.    Someone charged it to his credit card.        We have
17     no idea who.    It's just sitting in the box unopened.           Why
18     would someone spend tens of thousands of dollars on a printer
19     and never use it?     We think the answer is that they have used
20     it and that that's why they don't mind returning the tools now
21     because they have what they need from them.         We haven't heard
22     anything to refute that.
23                It would also explain why they ordered an enormous
24     stockpile of paint because they would be ready when they have
25     a copied tool, either an entire tool or part of it, to




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1      continue with their business.
2                 We heard Ed Vogler at the last hearing talk about
3      what a game changer this technology is.        He talked about how
4      it's something that no one else has.        It helps them work more
5      quickly, more profitably, and it was the first thing he
6      mentioned when he talked about the benefits to the franchise
7      system.
8                 We believe that the defendants have taken this
9      technology and we ask the Court to stop them from continuing
10     to use it for their own benefit.
11                The second piece of intellectual property that is at
12     risk here is the defendants' brand.        And Your Honor, you've
13     handled many cases like this.       You understand about the
14     trademark and the value of it.       Mr. Montemurro testified about
15     that.   Mr. Vogler testified about how valuable this is to the
16     system.
17                I'm not going to go through the litany of examples
18     of evidence of damage to the brand.        I'd like to mention just
19     two, though.
20                One is the email that's Exhibit 22, our Exhibit 22
21     from Scott Clark Toyota's service director, David Blackburn.
22     And Mr. Blackburn had dealt with the defendants when they were
23     in business in Columbia.      And at the first hearing Mr.
24     Montemurro testified about how Mr. Blackburn just looked at
25     him with contempt and said, "I've dealt with your company




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1      before," when they were first introduced.        And so he
2      memorialized his issues with the defendants in an email.              In
3      that email he said that the defendants' work ethic, their work
4      quality, their attitude were, quote, horrible.         His
5      experiences with them made him decide he would never use
6      Atlantic Pinstriping again.      They had absolutely no concern
7      for customer satisfaction.
8                 Now, Mr. Montemurro testified that he had been at
9      Scott Clark Toyota for 20 years and despite that long
10     relationship, once Mr. Blackburn came in, it took him months
11     to get Mr. Blackburn's trust.
12                So that's just one of many examples of how our
13     clients are being hurt by what the defendants are doing.
14                You also heard Mr. Montemurro and others today talk
15     about tax liens, talk about unpaid vendors and the lawsuits
16     that result from that.      And each of those is in the name of an
17     Atlantic Pinstriping entity, which hurts the brand.          There can
18     be no question that this hurts the brand.        So we ask also that
19     the Court stop this harm from continuing to occur.
20                The third part of intellectual property that is
21     being damaged here is the Atlantic Pinstriping system.           Now,
22     the defendants have maintained that they've returned the
23     operating manual so that should be the end of the story.
24     There's nothing else at issue.       But the fact is, you can't,
25     just by returning an operations manual, erase everything that




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1      the defendants learned about the Atlantic system.          They still
2      have all the information about how to start this kind of
3      franchise, what kind of specifications and standards they
4      need, how to market this service.
5                 You've heard testimony about the defendants' use of
6      this system.    They started two unauthorized franchises.         One
7      we heard about, the Montemurros learned about from their
8      Florida franchisee where they offered to set someone up as an
9      Atlantic Pinstriping franchisee with no authorization or even
10     information to the Montemurros about that.
11                You also heard that they are -- they set up a bank
12     account and are writing checks for Atlantic Pinstriping
13     Savannah and Mrs. Montemurro learned that when she was handed
14     a check by Jerry Parker.
15                In addition to that, they've posed as the franchisee
16     with their software vendor to try to get the vendor to cancel
17     Atlantic's account.     Atlantic's agreements were written to
18     protect against just this kind of harm and that is, at least
19     in part, in the non-competes and the exclusive territory that
20     are a key part of the agreement.       And the defendants signed
21     these agreements.     They committed to respect their terms, both
22     during their terms and after their terms.        They've utterly
23     failed to do that.
24                I'm not going to go into the exact terms of the
25     non-compete because I know Your Honor has read the materials.




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1      I will if you want, but it seems like something I don't need
2      to talk about now.
3                 The point is that we know that from both Wayne
4      Powell and from Travis Gordon, the private investigator, that
5      the defendants have continued to operate in their former
6      territories.    They have continued to use the trademarks.
7      They've continued to use the telephone numbers.         They've
8      continued to use the business names.        Mr. Gordon and Barefoot
9      Investigation made an appointment this past week with
10     defendants' employees to have a car pinstriped because we
11     intended for them to see whether the pinstriping service was
12     going on, but also to get a look at the tool they were using.
13                They were told that Matt Bernard -- they were told
14     by the dealer, who is the franchisee's customer, that Atlantic
15     Pinstriping is doing pinstriping through Atlantic Dealer
16     Services, the same franchisee that had been there before, and
17     they gave -- they were given a number to call.         That was one
18     of the numbers that Laura Montemurro testified is an Atlantic
19     Pinstriping number.
20                They eventually connected with Brian Guggenbiller
21     through another Atlantic Pinstriping number and he actually
22     set up -- made the arrangements for the appointment.             As it
23     turns out, Mr. Guggenbiller tracked down the investigator
24     through LinkedIn and when the investigator got a LinkedIn
25     notice that somebody has been visiting your account, it was




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1      from Brian Guggenbiller who lists himself as director of
2      operations at Atlantic Dealer Services.
3                  Now, we provided a voicemail where he responded that
4      this was Custom Dealer Services.        And there was other
5      testimony about the defendants operating as Custom Dealer
6      Services.    Whether they're operating as one or the other, the
7      fact is they're still operating.        They're still operating in
8      the territory where they agreed they would not compete after
9      the termination.     And Your Honor, defendants are going to
10     continue to do this unless the Court orders them to stop and
11     we ask the Court to do that.
12                 The next thing I want to talk about is why we meet
13     the test for getting an injunction.        And before we talk about
14     why we meet it, I just want to clarify what the test is.              And
15     again, we covered this extensively in our briefing and I don't
16     want to go into it more than the Court wants.         But the point
17     is we believe there is no threshold burden as the plaintiffs
18     argued.   And the Blackwelder standard that they call for does
19     not apply anymore.     And this Court has recognized that that's
20     been overruled and has applied the new standard in Bica.              I
21     could go on about that, but I won't unless you have any
22     particular questions about it, about that standard.
23                 THE COURT:   The Real Truth About Obama is the case,
24     I believe.
25                 MS. ANDERSON:    Exactly.    Exactly.




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1                  MR. HENRIQUES:    We agree that's the standard, Your
2      Honor.
3                  MS. ANDERSON:    So under this -- under the test of
4      Bica, which is the test that's applicable here, we have to
5      show four things.     We have to show we're likely to succeed on
6      the merits, we're likely to suffer irreparable harm, the
7      balance of hardships tips in our favor, and an injunction is
8      in the public interest.      This seems like one of the clearest
9      cases I've ever seen for showing that those standards are met.
10                 Success on the merits.     We had valid rights in
11     intellectual property and the defendants have breached
12     those -- and infringed those rights.        We had valid contracts
13     and the defendants breached those contracts.         They -- we
14     counted 48 defaults in the last year alone.         So -- and over
15     the years there's been ample evidence of Mr. Montemurro and
16     Atlantic trying to work with the defendants trying to get them
17     in compliance and it never worked out.        Finally it got to the
18     point that they were getting sued.       They were getting calls
19     from vendors saying your franchisee owes us money, refuses to
20     pay, and so we're going to bring you into a lawsuit.             It got
21     to the point that Atlantic had no choice but to terminate
22     these defendants.     And it did that and it had the right to do
23     that.    So there was harm there.
24                 And that didn't stop after the termination because
25     then the defendants violated their post-termination




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1      non-compete.    Now, a question on likelihood of success on the
2      merits will be was this -- is this non-compete enforceable?
3      And Your Honor, we would submit that this -- courts in this
4      jurisdiction enforce covenants like this every -- all the
5      time, routinely.     Bica is a very close example to this.         A
6      2-year period of non-compete with a 25-mile radius is less
7      restrictive than many covenants that this Court has enforced.
8                  And more to the point, Your Honor, we've shown that
9      there is a legitimate business reason for the enforcement of
10     this covenant.    Ms. Montemurro testified that they often allow
11     their franchisees to expand into neighboring areas and that
12     sometimes when dealers are on the periphery of a territory,
13     their customers could easily travel 25 miles or more to get
14     service.    So this 25-mile restriction allows a franchisee to
15     service the dealers -- the customers of the dealers who are
16     their clients.
17                 Enforcing this non-compete is not only well within
18     the law of this jurisdiction, but it's also in the public
19     interest.    This is a reasonable restriction and it comports
20     with a legitimate business purpose.
21                 Irreparable harm.    Atlantic and the Montemurros are
22     being harmed in ways that can't be measured by money.            They've
23     lost and they continue to lose value in the brand.          Their
24     technology is at risk.      Their operating system is at risk.
25     And more to the point, their franchisees are harmed.             Their




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1      whole system is harmed when someone who takes their system and
2      stops paying royalties on it but continues to use it is able
3      to compete with them when they're paying royalties.          So this
4      hurts not only Atlantic, but it hurts the franchisees.           And
5      Bica is a perfect illustration in which the Court recognized
6      the kind of harms when a holdover franchisee is allowed to
7      continue operation.     This is exactly that kind of case.
8                 The balance of the hardships.       We believe that given
9      the egregious conduct of the defendants, the severity of their
10     defaults and the sheer number of their defaults and the
11     reasonableness of the non-competes, we believe that for all
12     these reasons, there is an extremely low probability that this
13     injunction would be deemed improvidently granted.          And on the
14     other side of the scale, there's ample case law in which
15     courts recognize that self-inflicted harm by a holdover
16     franchisee is not something that should weigh on the former
17     franchisee's favor.
18                The public interest.      Your Honor, we believe that
19     franchises such as Atlantic do a great public service in that
20     they train entrepreneurs, they develop new businesses, and
21     franchise systems such as this are particularly beneficial
22     when they operate on the premise that if individual
23     franchisees follow the system and thrive, then the whole
24     system thrives.    But on the other side of the scale, the
25     public is also hurt by allowing bad actors to come into a




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1      franchise system, misappropriate the value of it and use that
2      value to compete unfairly with the existing franchisees.              So
3      for both of those reasons, Your Honor, we believe that the
4      public interest weighs --
5                  THE COURT:   Time is up.    I have one question.      How
6      will all of this relate to the arbitration provision in the
7      contract?
8                  MS. ANDERSON:    We believe that once the injunction
9      is in place, the matter could either continue to be litigated
10     here or go to arbitration.      But we have every right to get an
11     injunction here, Your Honor.
12                 THE COURT:   That's not an issue.      I understand the
13     ability to get an injunction even when there's an arbitration
14     clause.    What I need to know is as a result of all this, is
15     this case going to arbitration or are you guys going to
16     litigate here?
17                 MS. ANDERSON:    We believe it should be litigated
18     here.
19                 THE COURT:   All right.    We'll let Mr. Henriques
20     respond.    Go ahead, sir.
21                 MR. HENRIQUES:    I believe it needs to go to
22     arbitration.    There's a binding arbitration clause that
23     clearly --
24                 THE COURT:   And you can invoke it.
25                 MR. HENRIQUES:    So I think that's the answer.




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1                  THE COURT:   All right.    It's your turn to argue.
2                  MR. HENRIQUES:    All right.    Thank you, Your Honor.
3                  This is really a wrongful termination case and the
4      evidence that you've heard clearly establishes that this
5      fran -- these franchises were terminated for one reason,
6      because Mr. Montemurro decided he didn't want Tony Horne
7      involved in the franchise anymore.
8                  I asked him at our first hearing, What was it that
9      led you to the decision to terminate in June of 2016 for the
10     very same infractions that had been going on for five years?
11     Undisputed testimony occasionally they'd miss a payment or
12     whatever.    And he says, The phone call from another counsel,
13     Teddy Mathis, that stated he was naming Atlantic Pinstripe or
14     considering naming Atlantic Pinstripe in a lawsuit.          That's
15     what he said.
16                 I asked him again, Isn't it true you wanted Tony
17     Horne out?    And on page 65 of our rough transcript, the
18     question was, "You made it clear you wanted Mr. Horne out of
19     the franchise, right?
20                 "Answer:   I made it clear to his partners I would
21     like to disassociate myself with everyone in that room before
22     I wound up getting named in a lawsuit and I needed to break to
23     myself and other franchises, yes, I did."
24                 He wanted out.
25                 What's really unique and remarkable here, Your




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1      Honor, is we not only have his testimony, we have testimony
2      from the meetings with my clients where he said he wanted Tony
3      out, but we have correspondence with his lawyer which he
4      waived privilege on where they were originally working on a
5      cooperative transfer deal and his lawyer says you may have a
6      hard time getting signatures from Mr. Horne and Mr. Parker;
7      and so therefore, you don't have to worry about that if you
8      just go ahead and terminate.      And I think that --
9                  THE COURT:   I read it.
10                 MR. HENRIQUES:    Huh?
11                 THE COURT:   I read it.
12                 MR. HENRIQUES:    All right.    So that's the
13     separation.    He says we'll just terminate and we're not going
14     to worry about it.
15                 And so the question the jury is going to have to
16     decide -- or the arbitrator.      We think it goes to arbitration.
17     But the ultimate question is, was the termination valid or was
18     it wrongful?    And here I think on the success of the merits,
19     the clear indication is it wasn't validly terminated for any
20     of the reasons listed in that termination notice.          That's why
21     I had each of my clients go through it.        The only one they can
22     terminate without notice is insolvency, inability to pay debts
23     when due.    There's been evidence of a couple of disputed
24     vendors that they didn't pay and one frivolous lawsuit filed
25     in South Carolina that did business with a company called




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1      Partners but decided to do the kitchen sink and throw in each
2      of the three named defendants and Atlantic Pinstripe.            That
3      does not provide clear evidence that there's a valid grounds
4      for termination.     All the other laundry list are small
5      violations.    Most of them are unexplained.       And the contract
6      says for those items they have to give notice and an
7      opportunity to cure.
8                 I found it interesting that in their reply brief
9      that they filed, they point out correctly, Your Honor, that
10     under North Carolina law, a written contract can be modified
11     by the course of dealings.      They argue that to say, well, it
12     was modified to make the companies a party.         But I agree it
13     can be modified by course of dealings.        Here you've got six
14     years where something is received late, they give notice and
15     it gets fixed.    They had a series of problems.       They put them
16     on probation.    They had 90 days to improve.       They did.
17                They renewed them in 2015 after these alleged
18     incidents with Savannah, after the other incidents.          There's
19     no indication of any new occurrence in 2016.         The only thing
20     that changes in 2016 is he's decided -- he hears about this
21     lawsuit.   He gets scared.     He does an internet search and
22     finds something about Tony he doesn't like and decides I'm
23     done.   That's what happened.     And if the jury concludes that
24     has happened, that's a wrongful termination.         There's no valid
25     basis for termination.      And they have not made --




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1                 THE COURT:    You said there won't be a jury.         There
2      won't be a jury according to you.
3                 MR. HENRIQUES:     I'm sorry, I'm used to talking about
4      a fact -- it would be the fact finder.        The arbitrator would
5      make that determination.      That's really what this case is
6      about.
7                 THE COURT:    Quick question.
8                 MR. HENRIQUES:     Yes.
9                 THE COURT:    What's frivolous about a $38,000
10     judgment against Mr. Montemurro?
11                MR. HENRIQUES:     Thank you, Your Honor.      That's a
12     different -- that's not the same Mr. Williamson.          That's not
13     this case.    If you look at the case caption, that -- the item
14     they've introduced is a separate rent dispute from a -- it's a
15     different party and a different case caption.         So I at first
16     was confused thinking that that was in the Dentworks lawsuit,
17     but it is not.    It's a separate -- it's a --
18                THE COURT:    It's against Atlantic Pinstriping Triad,
19     LLC.
20                MR. HENRIQUES:     It is, Your Honor.
21                THE COURT:    And Tony Horne who is a defendant here.
22                MR. HENRIQUES:     That's correct.
23                THE COURT:    Okay.   Go ahead.
24                MR. HENRIQUES:     That was a -- my understanding,
25     that's a default judgment that my clients found out about for




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1      the first time when they saw that notice here.         They were
2      never served with process.       But that's -- but more importantly
3      for Your Honor's purposes for default, that was entered on
4      August 18th so it's two months after the termination.            It
5      can't serve as grounds for terminating the franchise because
6      it happened two months later.
7                 THE COURT:    Okay.
8                 MR. HENRIQUES:     But it -- I thought it was the
9      Dentworks case.    That case is still going forward, the one in
10     South Carolina.    So it is -- it's different.
11                But that's really what the case is about:         Is the
12     termination proper or is it not?       There's obviously factual
13     disputes surrounding that.       But under The Real Truth About
14     Obama, which we agree is the standard.        And I apologize for
15     citing Blackwelder.     It was an older brief.      I agree that's
16     not the standard.
17                What I'm not sure plaintiffs appreciate is The Real
18     Truth Obama made it clear that the bar has been raised
19     considerably by Winter and now, unlike in Blackwelder, there
20     has to be a clear showing of likelihood of success as a
21     threshold matter.     And so it's not simply do they have a
22     chance of success or are there substantial questions which is
23     the old threshold.     Now it's clear likelihood.      They have not
24     done that.
25                The evidence from the witnesses you heard clearly




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1      indicates that there was no valid basis for termination, that
2      this is a trumped up termination notice.        He really wanted to
3      get rid of Tony and this was the way he was going about doing
4      it.   And if that's the conclusion, then the answer is they
5      should be reinstated as franchisees.        There's uncontested
6      evidence that they were among the most financially successful,
7      bringing in over a million dollars.        So the idea that they're
8      somehow insolvent or having problems, it simply doesn't jive
9      with the evidence you've heard about the history and success
10     of these franchises.
11                So if the termination is wrongful, that casts the
12     whole -- the whole termination provisions into doubt and
13     there's no basis to think that a wrongful -- after a wrongful
14     termination you're going to get enforcement of the
15     non-competes or the other provisions.
16                So I think on the likelihood of success, they simply
17     have not met their burden to show they're going to prevail on
18     the contract claims.
19                I notice that they start with the intellectual
20     property claims.     It's really a nonissue and I'm surprised we
21     keep arguing about it.      We have not violated that patent.         We
22     offered to return the applicators early on before I got
23     involved in the case.     I brought them with me to court.        I
24     asked him if we return it, can we get our deposit back.
25                THE COURT:    The contract says you can't.




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1                 MR. HENRIQUES:     Huh?
2                 THE COURT:    The contract says you can't.       You don't.
3                 MR. HENRIQUES:     Well, the contract says that we're
4      supposed to turn it in within 14 days so --
5                 THE COURT:    And you haven't.
6                 MR. HENRIQUES:     And we didn't turn it in within 14
7      days because after he took the first one and refused to return
8      it -- a deposit within 14 days and violated the contract, our
9      guys were reasonably fearful that if we just hand over the
10     other seven, we're never going to see our security deposit
11     back.
12                THE COURT:    And then you fight about that, right?
13                MR. HENRIQUES:     Right.   Now, I think -- you know, I
14     delivered -- I brought the equipment to plaintiffs' office.            I
15     said here it is.     Photograph it.    Confirm we've got it.      My
16     clients aren't using it.      They can't.    It's in my physical
17     possession.    There's no issue.     If your order wants to
18     enter --
19                THE COURT:    Why don't you give it back to them.
20     Give them their equipment and then fight about the darn
21     deposit.   Why are you all keeping their equipment?
22                MR. HENRIQUES:     Well, because we're not sure we'll
23     ever see the deposit back.
24                THE COURT:    That is probably subject to the issue
25     that you're going to bring up with the arbitrator, isn't it?




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1                 MR. HENRIQUES:     Well, the arbitrator is going --
2                 THE COURT:    Isn't it one of the things you could
3      talk about there?
4                 MR. HENRIQUES:     Definitely -- both sides have claims
5      for damages the arbitrator would decide.        But it seems to
6      me --
7                 THE COURT:    He has a patent.     You guys are using it.
8      Give him his equipment back for God's sake.
9                 MR. HENRIQUES:     Again, I don't think that's -- and
10     obviously Your Honor can order that.        We'll do that.       I've got
11     the equipment so my folks aren't using it.
12                I think -- I think it's interesting that when I
13     asked him on examination, he said I'll never see that
14     equipment.    I said, If we give it to you, will you give the
15     $2,500 back, and he said yes.
16                Then his lawyer points out, well, there's 14 days
17     under the contract.     It's a security deposit, Your Honor.           To
18     me that's an unreasonable position to say, yeah, you gave me
19     the security deposit.     I took that money, but you can't have
20     it back.   Obviously Your Honor can address that however you
21     want.
22                But there's no -- there's been no evidence of
23     continued infringement.      What they've tried to come up with is
24     this double hearsay affidavit of Mr. Powell.         I refuted that
25     directly from my client.      We're not -- we haven't copied it.




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1      We're not infringing.     So I think that's a non-issue.         We're
2      not using their technology.      We went and bought another
3      applicator.    So that's not an issue and they haven't put that
4      in issue.
5                  And the same thing is true with trademarks.          We're
6      not using that name.     We're doing Custom Dealer Services.          She
7      says it doesn't matter that that's how they're now answering
8      or that's how it's being invoiced.       It sure does because we
9      had said, and we said in the declaration Mr. Horne filed,
10     we're not using it.     Now, they did come forward with that
11     LinkedIn page that Mr. Parker failed to switch.         You heard
12     from him that he doesn't use LinkedIn and had forgotten that
13     that's listed that way and it's been fixed.         I tried to find
14     this other one their investigator found.        I can't find any
15     LinkedIn page for that employee so I don't know if that popped
16     up as some legacy identification.
17                 But there's no evidence that we're marketing
18     ourselves as Atlantic anymore.       We're not doing that.       We're
19     sending invoices that are Custom Dealer Services.          So I don't
20     think they've proven some irreparable harm from that
21     marketing.    I listened closely for the evidence of, you know,
22     irreparable harm because that is the second requirement under
23     Real Truth About Obama, irreparably harmed absent preliminary
24     relief.   And I listened hard.      I don't see how they're being
25     irreparably harmed.




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1                 She said there are three reasons.        One is our
2      equipment, which we're not using.       There's no evidence we're
3      continuing to use it.     The other is their trademark, which
4      there is no evidence that we are continuing to make use of.
5      And then she said damage to the franchise.         And that's why we
6      cited in our brief cases you can -- if you're showing that
7      you're losing lots of customers and goodwill is being
8      destroyed, you may be able to show irreparable harm, but we
9      heard no evidence of any customers that were actually lost.
10     In fact, the evidence we heard here at the end is they took
11     the Florida -- Venice, Florida customer that we had been
12     serving, $40,000 a month, and now they've taken him back we
13     think with threat of litigation.       But that's a customer that
14     they have even though it's not in their territory.
15                Where is the evidence of all the damage that they
16     are suffering because we have somehow stolen or competed with
17     customers that they aren't doing?       It's totally absent, zero,
18     on the evidence of lost customers.
19                And that's why I cited the case where the Court
20     actually found that it was going to enforce a non-infringement
21     restriction.    I'll get Your Honor the citation in a moment
22     because I think it's an important case on the irreparable harm
23     piece, Your Honor.     I think it's the Olympus -- yeah, the
24     Olympus case, you know, and Static Control saying that in a
25     customer case you have to show the following:         Identity of




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1      specific customers it has lost or will permanently lose.              And
2      if it's shown, how an award of monetary damages would be
3      inadequate.
4                 They haven't done either of those.        If they lost
5      some business and a customer comes forward and says I've been
6      solicited or I've decided not to use Atlantic Pinstripe,
7      that's something the arbitrator can award in terms of monetary
8      damage.   There's no need for any kind of preliminary
9      injunction on that.     And they simply haven't met the burden
10     under Olympus and Static Control to show actual customer
11     damage.   So that simply is not there.
12                I think that -- so when we look at the test, they
13     haven't shown irreparable harm.       There's no damage being done.
14     And they haven't shown likelihood of success on the merits.
15     And so -- and they have high burdens under both of those under
16     Real Truth About Obama.      So I don't think there's a basis for
17     Your Honor to enter a preliminary injunction here because the
18     harm simply has not been shown.
19                THE COURT:    Okay.
20                MR. HENRIQUES:     The last --
21                THE COURT:    Five minutes of rebuttal.
22                MS. ANDERSON:     Yes, Your Honor.
23                I'm not -- starting with the end of Mr. Henriques'
24     argument, I'm not going to go through, because you're going to
25     cut me off before I could finish, the issue of whether we've




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1      met the standard under Olympus and Static Control.          That's not
2      the standard we have to meet in any event.         I stand by our
3      reply brief on what the appropriate standard is.          It's not the
4      standard for employer/employee cases.        It's the standard
5      that's applied every day in courts around the country and in
6      this jurisdiction for franchisor/franchisee cases.          Two
7      independent business parties that are contracting and they
8      agree on what the relationship will be and they're held to
9      that agreement.
10                In terms of irreparable harm, I think it's ludicrous
11     to say that the things that have happened to Atlantic at the
12     hands of these defendants don't constitute irreparable harm.
13     When you've got your trade name appearing in lawsuits for
14     unpaid bills, for tax liens; when you've got people who have
15     dealt with your franchisee saying I will never deal with you
16     because I've dealt with you before, confusing them for the
17     other legitimate Atlantic Pinstriping.
18                And in terms of the wrongful termination, I do want
19     to address that because I think it's so critical.          In one
20     year -- in the space of one year we provided evidence that
21     there were 48 separate defaults.       Now, you could go with a no
22     good deed goes unpunished theory and say that a franchisor --
23     if a franchisor tries to work with a franchisee, then he has
24     to do that forever.     That's not the law, and particularly when
25     the contract says you don't waive your right to enforce simply




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1    by trying to work things out, which is what they did.           But the
2    defaults got more and more serious.      And they got to be things
3    such as trying to sell franchises, posing as the franchisor,
4    posing as the franchisor with a vendor.       Just things that
5    involved dishonesty.    Things that involved businesses calling
6    Mr. Montemurro and saying you are stiffing us and we're going
7    to bring you in because your franchisor is doing that.
8               Now, I always think of something I talk to clients
9    about which is a saying from Ambrose Bierce in The Devil's
10   Dictionary:   A litigant is someone about to give up his skin
11   in hopes of keeping his bones.
12              I don't think a franchisor can disregard the fact
13   of, you know, this bad behavior that's leading to all this
14   litigation that the franchisor is being drawn into.        I think
15   that's a legitimate concern, a legitimate grounds for
16   termination, particularly on top of all the others.
17              THE COURT:   Okay.   We'll see you folks back in here
18   in -- at 2:00.
19              (Lunch recess at 1:09 p.m.)
20              (Court back in session at 2:12 p.m.)
21              THE COURT:   All right.    Counsel, thank you for all
22   the good work you've done on this matter.       I have read all the
23   briefs.   I've heard the evidence, the oral argument, and I'm
24   prepared to make a ruling at this time subject to further
25   elaboration with written order.




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1              But in order to obtain a preliminary injunction, the
2    plaintiffs must establish, one, that they're likely to succeed
3    on the merits; two, that they are likely to suffer irreparable
4    harm in the absence of preliminary relief; three, that the
5    balance of equities tips in plaintiffs' favor; and four, that
6    an injunction is in the public interest.       These are
7    established after Winter and The Real Truth About Obama versus
8    Federal Election Commission in the Fourth Circuit.
9              First I will address the likelihood of success on
10   the merits.
11             Plaintiffs have demonstrated a history of a
12   multitude of defaults on the part of defendants under the
13   franchise agreements; specifically, evidence of 48 separate
14   defaults within a year.    These defaults became increasingly
15   serious to the point of exposing plaintiffs to lawsuits due to
16   plaintiffs' bad behavior -- due to defendants' bad behavior.
17   Moreover, there is convincing evidence of the defendants'
18   failure to comply with their post-termination obligations,
19   including the obligation to return licensed property and
20   thereby a violation of valid non-compete provisions.            The
21   Court finds the plaintiffs have met their burden of a clear
22   showing of a likelihood of success on the merits.
23             The Court further finds that the plaintiffs have
24   demonstrated they are likely to suffer irreparable harm due to
25   defendants' violation of their post-termination obligations.




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1    Plaintiffs have presented evidence that their goodwill and
2    reputation with customers and vendors will be damaged if
3    defendants continue to violate the covenant not to compete and
4    use the intellectual property of the plaintiffs.
5                The Court also finds that the balance of harms tips
6    in plaintiffs' favor.    Any alleged potential harm to
7    defendants is a result of defendants' own conduct.        Such
8    self-inflicted harm is far outweighed by the damage done to
9    the plaintiffs.
10               Lastly, the issuance of a preliminary injunction
11   will serve the public interest first because it will encourage
12   franchisors like Atlantic Pinstriping, LLC, to continue to
13   invest substantial assets in providing franchisees with
14   training, skills and promotional advantages of a recognized
15   trade name which enable them to establish their own businesses
16   at reduced costs.   Also, it will protect the investments
17   franchisors make in developing those systems and prohibit a
18   third party from taking advantage of the skills and goodwill
19   they were provided without paying what they agreed in
20   exchange.    Moreover, there is a strong public interest in
21   honoring the sanctity of a contractual relationship.
22               The Court finds the plaintiffs have met their burden
23   for issuance of a preliminary injunction.       The Court grants
24   the motion.
25               Plaintiffs are to prepare a proposed written order,




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1    serve it on the defense counsel and on the Court.        Counsel may
2    have one day thereafter to file written short briefs
3    addressing any proposed such written injunction.        And then the
4    Court will sign an order consistent with these bench rulings
5    today.
6                And then if you are going to go forward with your
7    arbitration, you should proceed in that regard subject,
8    however, to the injunction.      And then you can go -- for what
9    it's worth, I strongly urge all of you to sit down, take a
10   deep breath and see if there is some negotiated way out of
11   this morass.    Even with the sums of money that have been
12   testified to, none of you can afford to litigate this thing
13   out this much, this crazy.      There's just not that much money
14   involved.    So you all ought to be able to sit down.      You've
15   been in business.   Take a good hard look at this and see how
16   to get out of this mess without spending millions in
17   attorney's fees.
18               That's the ruling of the Court today.      So thank you
19   very much, counsel.      I greatly appreciate the professionalism
20   that you have both -- have both exhibited in this matter.             And
21   let me know what your plans are.      Thank you very much.
22               MR. HENRIQUES:    Your Honor, can I just for
23   clarification on arbitration, because our answer is currently
24   due on Thursday, are you indicating that you're --
25               THE COURT:   If you want to file an answer, you




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1    certainly may do so.    If you wish to ask for an extension so
2    you can file the arbitration, have at it.
3              MR. HENRIQUES:    Thank you.
4              THE COURT:    Whatever you want to do in that regard,
5    just let us know.
6              (End of proceedings at 2:17 p.m.)
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1    UNITED STATES DISTRICT COURT
2    WESTERN DISTRICT OF NORTH CAROLINA
3    CERTIFICATE OF REPORTER
4
5
6              I, Cheryl A. Nuccio, Federal Official Realtime Court
7    Reporter, in and for the United States District Court for the
8    Western District of North Carolina, do hereby certify that
9    pursuant to Section 753, Title 28, United States Code, that
10   the foregoing is a true and correct transcript of the
11   stenographically reported proceedings held in the
12   above-entitled matter and that the transcript page format is
13   in conformance with the regulations of the Judicial Conference
14   of the United States.
15
16             Dated this 26th day of April 2017.
17
18
19                              s/Cheryl A. Nuccio
                                _________________________
20                              Cheryl A. Nuccio, RMR-CRR
                                Official Court Reporter
21
22
23
24
25




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